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 EXHIBIT B
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 Attorneys for Defendant/Counter-Claimant Cathy Trading LLC

                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


 INTERLINK PRODUCTS INTERNATIONAL
 INC.,

                 Plaintiff/Counter-Defendant,          Civil Action No. 2:16-cv-02153-MCA-LDW

        v.                                             ANSWER, AFFIRMATIVE DEFENSES &
                                                       AMENDED COUNTERCLAIM
 CATHY TRADING, LLC d/b/a WANTBA
                                                       JURY TRIAL DEMANDED
                 Defendant/Counter-Claimant.



                             ANSWER, AFFIRMATIVE DEFENSES AND
                                 AMENDED COUNTERCLAIMS

        Defendant Cathy Trading, LLC (“Cathy Trading”) through attorneys Hill Wallack LLP and

 Apogee Law Group, P.C. answer the Complaint of Plaintiff, Interlink Products International Inc.

 (“Interlink”) as follows:
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                                            THE PARTIES

        1.       Defendant is without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 1 of the Complaint and, therefore, denies the

 allegations.

        2.       Defendant admits it is a Maryland limited liability company with its principal

 place of business at 150 Lullaby Court, Germantown, Maryland 20874, otherwise Defendant

 denies the allegations in Paragraph 2 of the Complaint.



                                   JURISDICTION AND VENUE

                                  SUBJECT MATTER JURISDICTION

        3.       Paragraph 3 of the Complaint states legal conclusions to which no response is

 required. To the extent an answer is required, Cathy Trading admits that this action purports to

 state a cause of action for alleged false Advertising under the Lanham Act. Further answering,

 Cathy Trading admits that subject matter jurisdiction is proper, if at all, solely for Plaintiff’s false

 advertising claims against Cathy Trading under the Lanham Act. Cathy Trading denies that

 subject matter jurisdiction is proper for any claims asserted against Cathy Trading asserted under

 the state law claims and denies any and all remaining allegations of Paragraph 3 of the Complaint.

                                       PERSONAL JURISDICTION

        4.       Paragraph 4 contains legal conclusions to which no answer is required. To the

 extent that any facts are alleged in this Paragraph 4, Defendant denies the allegations.

                                                 VENUE

        5.       Paragraph 5 contains legal conclusions to which no answer is required. To the

 extent that any facts are alleged in this Paragraph 5, Defendant denies the allegations.



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                                    NATURE OF THE CLAIMS

        6.        Paragraph 6 of the Complaint contains legal conclusions to which no answer is

 required. To the extent that any facts are alleged in this paragraph, Defendant denies the

 allegations.

                                               FACTS


        7.        Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of the allegations of Paragraph 7 of the Complaint and therefore denies the allegations.

        8.        Defendant admits that Interlinks showerheads are available on Amazon.com, but

 otherwise denies the allegations of Paragraph 8 of the Complaint.

        9.        Defendant admits that its showerheads have competed with some showerheads of

 Interlink with respect to online consumers but otherwise denies the allegations of Paragraph 9 of

 the Complaint.

        10.       To the extent an answer is required, Cathy Trading admits the allegations of

 Paragraph 10 of the Complaint.

        11.       To the extent an answer is required Cathy Trading admits the allegations of

 Paragraph 11 of the Complaint.

        12.       To the extent an answer is required Cathy Trading admits the allegations of

 Paragraph 12 of the Compliant.

        13.       Defendant denies that Interlink sells products designed to achieve excellent

 performance when equipped with flow restrictors limiting water flow to 2.5 gpm. Defendant

 lacks knowledge or information sufficient to form a belief as to the truth of the other allegations

 of Paragraph 13 of the Complaint and therefore denies the allegations.

        14.       Defendant lacks knowledge or information sufficient to form a belief as to the


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 truth of the allegation of Paragraph 14 of the Complaint and therefore denies the allegations.

        15.      Cathy Trading admits that it has sold the HS010C model dual showerhead on

 Amazon.com, but otherwise denies the allegations of Paragraph 15 of the Complaint.

        16.      Defendant denies the allegations of Paragraph 16 of the Complaint.

        17.      Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of the allegations of Paragraph 17 of the Complaint and therefore denies the allegations.

 Defendant further denies the allegation that the quoted online reviews are resulted from the flow

 rate of a showerhead.

        18.      Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of the allegations of Paragraph 18 of the Complaint and therefore denies the allegations.

        19.      Cathy Trading admits only as far as to the restrictor was not pre-installed in the

 product, but avers that a sham flow restrictor was ever included in a Cathy Trading showerhead

 product. Defendant otherwise lacks knowledge or information sufficient to form a belief as to the

 truth of the allegation of Interlink performed testing stated in Paragraph 19 of the Compliant and

 therefore denies the allegations. Cathy Trading further denies any and all remaining allegations of

 Paragraph 19.

        20.      Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of the allegations of Paragraph 20 of the Complaint and therefore denies the allegations.

        21.      Defendant denies the allegations of Paragraph 21 of the Complaint.

        22.      Defendant denies the allegations of Paragraph 22 of the Complaint.

        23.      Defendant denies the allegations of Paragraph 23 of the Complaint.

        24.      Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of the allegations of Paragraph 24 of the Complaint and therefore denies the allegations.

        25.      Defendant denies the allegations of Paragraph 25 of the Complaint.
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        26.      Defendant lacks knowledge or information sufficient to form a

 belief as to the truth of the allegation that Interlink’s products come with a hose and can be

 properly tightened by hand. Defendant denies any and all remaining allegations of Paragraph 26.

        27.      Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of the allegation that high flow rate showerheads positively influence online reviews.

 Further, this allegation contradicts the allegations Interlinks made in Paragraph 17 as the negative

 reviews of high flow rate showerheads. Defendant denies any and all remaining allegations of

 Paragraph 27.

        28.      Defendant denies any and all of the allegations of Paragraph 28.

        29.      Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of the allegations of Paragraph 29. Defendant denies any and all remaining allegations of

 Paragraph 29.



                    COUNT I: FALSE ADVERTISING – 15 U.S.C. § 1125 (A)

        30.      Cathy Trading neither admits nor denies the allegations in paragraph 30 of the

 Complaint.

        31.      Cathy Trading denies the allegations of Paragraph 31 of the Complaint.

        32.      Cathy Trading denies the allegations of Paragraph 32 of the Complaint.

        33.      Cathy Trading denies the allegations of Paragraph 33 of the Complaint.

        34.      Cathy Trading denies the allegations of Paragraph 34 of the Complaint.

        35.      Cathy Trading denies the allegations of Paragraph 35 of the Complaint.

        36.      Cathy Trading denies the allegations of Paragraph 36 of the Complaint.




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    COUNT II: STATE STATUTORY AND COMMON LAW UNFAIR COMPETITION

        37.     Cathy Trading neither admits nor denies the allegations in Paragraph 37 of the

 Complaint.

        38.     Cathy Trading denies the allegations of Paragraph 38 of the Complaint.

        39.     Cathy Trading denies the allegations of Paragraph 39 of the Complaint.



                                     REQUEST FOR RELIEF

                Cathy Trading denies all allegations not expressly admitted herein. Cathy Trading

 further denies that Plaintiff is entitled to any of the relief requested or to any relief whatsoever.

 Cathy Trading respectfully requests that the Court: (a) dismiss this action with prejudice; (b) enter

 judgment in favor of Cathy Trading; (c) award Cathy Trading its reasonable attorney fees and

 costs incurred in defending this action pursuant to 35 U.S.C. § 285; and (d) award Cathy Trading

 such further relief as the Court deems just and appropriate.

                                           *      *       *

                                   AFFIRMATIVE DEFENSES

        Without prejudice to the denials set forth in its Answer, without admitting any allegation

 in the Complaint not otherwise admitted, and without undertaking any of the burdens imposed by

 law on Cathy Trading asserts the following separate defenses:

                             First Defense (Failure to State a Claim)

        The Complaint fails to state a claim upon which relief can be granted.

                              Second Defense (Statute of Limitation)

        The claims alleged in the Complaint are barred by the applicable statute of limitations.

                               Third Defense (Equitable Doctrines)




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        The claims alleged in the Complaint are barred by the equitable doctrines of laches,

 waiver and estoppel.

                                 Fourth Defense (No Injury or Damages)

        Defendant is not entitled to any relief because it has not suffered any harm or incurred

 any damages as a result of any actions of Cathy Trading.


                                      Fifth Defense (Preemption)

        Defendant’s claims are expressly and impliedly preempted by federal law, including but

 not limited to, the Energy Policy Act.

                                  Sixth Defense (Unclean Hands)

        Defendant’s claims to equitable remedies are barred by the doctrine of unclean hands.

                            Seventh Affirmative Defense (Bad Faith)

        Plaintiff is barred by its own bad faith from obtaining any of the relief it seeks in its

 complaint.

                                Eighth Affirmative Defense (No Damages)

        Plaintiff has suffered no actual damages.

                          Ninth Affirmative Defense (Lack of Standing)

        Plaintiff lacks standing to assert any of its claims.

                            Tenth Affirmative Defense (Preservation)

        Cathy Trading currently has insufficient knowledge or information on which to form a

 belief as to whether it may have additional, as yet unstated, affirmative defenses available. Cathy

 Trading reserves the right to assert additional affirmative defenses in the event that discovery

 indicates it would be appropriate.




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                                          *        *       *

                                       COUNTERCLAIMS

         Defendant/Counter-Claimant        Cathy       Trading   for   its   counterclaims   against

  Plaintiff/Counter-Defendant Interlink Products International, Inc. (“Interlink”) hereby alleges as

  follows:

                                          THE PARTIES

        1.      Cathy Trading is a Maryland limited liability company with its principal place of

 business at 150 Lullaby Court, Germantown, Maryland 20874.

        2.      Interlink is a New Jersey corporation with its principal place of business at 1315

 East Elizabeth Avenue, Linden, NJ 07036.


                                 JURISDICTION AND VENUE

        3.      This Court has jurisdiction over these Counterclaims pursuant to: (a) Section 39

 of the Lanham Act, 15 U.S.C. § 1121(a) and 28 U.S.C. §§ 1331, 1337(a), and 1338(a) as to the

 claims arising out of Interlink’s violations of Section 43(a) of the Lanham Act, 15 U.S.C. §

 1125(a); and (b) 28 U.S.C. §§ 1338(b) and 1367(a), as to the claims arising out of Interlink’s

 violations of New Jersey law.

        4.      Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b) and (c),

 in that Interlink resides in the district and has disseminated and has caused to be prepared and

 disseminated in interstate commerce throughout the United States and within this judicial

 district, advertisements and promotions for its products, including the advertisements at issue in

 these Counterclaims.

        5.      This Court has personal jurisdiction over Interlink because Interlink is a New

 Jersey based corporation, conducts daily business in New Jersey, has availed itself of the rights


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  and privileges of this forum by suing Cathy Trading in this District, and/or because Interlink

  conducts substantial business in, and has regular systemic contact with, this District.

          6.       Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1400.

                                     FACTUAL BACKGROUND

          7.       Interlink produces, markets, imports and sells showerheads in interstate

  commerce through online channels, including Groupon.com, Wayfair.com, Overstock.com and

  Amazon.com, and through traditional retailers, including Wal-Mart and Bed Bath & Beyond.

          8.       Cathy Trading markets, imports and sells showerheads in direct competition with

  Interlink through online channels, namely Amazon.com and Ebay.com.

          9.       Pursuant to Title 42 of the U.S. Code as amended by the Energy Policy Act of

  1992, Pub. L. 102-486, 106 Stat. 2776, and implementing regulations at 10 C.F.R. §§ 430.31-34,

  it is unlawful to manufacture and sell a showerhead in the United States having a water flow

  greater than 2.5 gallons per minute (gpm) measured at a water pressure of 80 pounds per square

  inch (p.s.i.).

          10.      Many of Interlink’s showerheads are multiple-nozzle showerheads, including

  PowerSpa® All-Chrome 3-way LED Twin 7 Color Shower System with Air Turbo Pressure-

  Boost Technology, HotelSpa® Ultra-Luxury 24-setting 3-way Rainfall/Handheld Shower Combo

  (Chrome), HotelSpa LED 10” Rainfall Showerhead, AquaSpa 3-way Shower, and DreamSpa®

  All-Chrome Water Temperature Color-Changing LED Shower Head. (see Exhibit A).

          11.      Under the U.S. Department of Energy’s Showerhead Enforcement Guidance of

  March 4, 2011, “multiple spraying components sold together as a single unit designed to spray

  water onto a single bather constitutes a single showerhead for purposes of the maximum water

  use standard. …Thus, consistent with the Department’s test procedure, to determine whether a

  manufacturer’s showerhead complies with the 2.5 gpm standard set by Congress, the Department
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  will measure a showerhead’s water use by turning all of a unit’s sprays and nozzles to their

  maximum flow settings.”

         12.      Interlink represents, in its advertising and marketing materials, online product

  listings, product packaging, product instruction manuals, and on its web site that all of its

  showerheads have a water flow of 2.5 gpm or less, as required by the Energy Policy Act and its

  implementing regulations.

         13.      Interlink certifies to retailers, including Groupon.com, Wayfair.com,

  Overstock.com, Amazon.com, Wal-Mart and Bed Bath & Beyond, that its showerheads are

  lawful to manufacture, market and sell in the United States, which implies compliance with the

  Energy Policy Act’s 2.5 gpm flow restriction.

         14.      These express and implied representations by Interlink are false, misleading and

  deceptive. As of June 26, 2015, multiple Interlink’s showerheads do not comply with the Energy

  Policy Act’s 2.5 gpm flow limit, but put out significantly more water than is permitted by the

  Act. For example, Interlink model numbers 1141, 1441, 1442, 1410 and 5207 each outputs

  water at a flow rate much higher than 2.5 gpm, with some models outputting flow rates as high

  as 5gpm. These detailed facts were described in paragraphs 86, 87, 88, 89 and 90 of the Answer

  and Counterclaims filed by BBC Innovation Corporation (“BBC”) against Interlink on June 26,

  2015, enclosed as Exhibit E.

         15.      Meanwhile, Interlink’s advertisements on various E-commerce sites and retail

  channels, stated the flow rate of its showerhead complies with EPA regulation, at 2.5 gpm. (See

  Exhibit A-D).

         16.      On January 27, 2017, Interlink sent out a letter to buyers of its showerhead, of

  which one was received by Cathy Trading stating that Interlink’s showerhead 1141 has a faulty



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  flow regulator that causing shower head’s flow rate exceed 2.5 gpm.

         17.       Interlink knowingly misrepresented its showerheads flow rate since at least as of

  June 26, 2015.

         18.       Interlink’s distribution in commerce of its non-compliant showerheads were

  unlawful under 42 U.S.C. § 6302(a), and Interlink’s false statements that its showerheads put out

  2.5 gpm of water or less were unfair and deceptive practices under 42 U.S.C. § 6303(c).

         19.       Interlink subsequently changed its marketing and advertising scheme after its

  false advertising and misrepresentation practice were disclosed by BBC, another competitor.

         20.       On information and belief, starting in or about late 2015, Interlink altered its

  products by inserting an easily removable flow regulator. Interlink’s easily removable flow

  regulator does not satisfy the force requirement for removal these flow regulator prescribed by

  the EPA. Cathy Trading purchased and tested the removal process of Interlink products model

  1487, 3308, 1441, 1141, 5407, 1410, 1442, and 1687.

         21.       Upon removal of the thick washer, some of Interlink’s flow regulators fall out

  without any force being applied and some were easily removable. 10 CFR §430.32 Energy and

  water conservation standards, subsection (p) Showerheads, provides in full text “The maximum

  water use allowed for any showerheads manufactured after January 1, 1994, shall be 2.5 gallons

  per minute (9.5 liters per minute) when measured at a flowing pressure of 80 pounds per square

  inch gage (552 kilopascals). When used as a component of any such showerhead, the flow-

  restricting insert shall be mechanically retained at the point of manufacture such that a force of

  8.0 pounds force (36 Newtons) or more is required to remove the flow-restricting insert, except

  that this requirement shall not apply to showerheads for which removal of the flow-restricting

  insert would cause water to leak significantly from areas other than the spray face.”



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         22.     After conducting testing of one these above listed products, Cathy Trading

  discovered that the force needed to remove flow restrictor (water regulator) in Interlink’s product

  1487 HOTEL Spa LED 10" Rainfall Showerhead (Chrome) was only 5 pounds of force and

  removal of the washer in the same product was only 2 pounds of force.

         23.     Interlink, by designing its products with faulty and easy removable flow

  regulators, has circumvented and aiding the breaking of the Federal law, the Energy Policy Act.

         24.     Interlink’s shower head products are designed to facilitate the removal of flow

  regulators by the customer so that the EPA rules can be circumvented allowing Interlink’s

  customers to increase the flow rate of the showerheads permanently in order to gain an unfair

  market advantage. A consumer would replace the flow regulator permanently by providing a

  replacement part of the flow regulator and its matching washer, by another thick replacement

  washer as instructed by Interlink’s manual.

         25.     Interlink by misrepresenting its products being in compliance with Federal law,

  yet installing water restrictors in a manner that do not comply with Federal Law, thus

  circumvents the Federal Law. Interlink’s conduct runs contrary to the laws of fairness in

  business conducts.

         26.     Interlink manufactures, sells and distributes into the stream of interstate

  commerce showerheads that have a flow rate higher than the rate permitted by the Energy Policy

  Act, either by way of omitting flow regulators from its showerheads, or shower head designs in

  such a way that they put out too much water even with flow regulators installed, or both.

         27.     Amazon reviewers review show that Interlink’s showerhead either put out too

  much water or too little when a flow regulator is being used.

         28.     Hence customers look for ways to remove the flow regulator according to the



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  conspicuous instructions. Once the flow regulator is removed, Interlink’s showerhead put out

  too much water that exceed way beyond the EPA regulation. (See pages 4 through 6 of Exhibit

  C).

           29.     Interlink’s advertising and marketing representations that its various models, on

  information and belief, showerheads outputs a maximum of 2.5 gpm at 80 p.s.i. were literally

  false.

           30.     Interlink’s marketing and advertising representations of its various showerhead

  with LED functions.

           31.     Interlink markets and advertises on Amazon.com, ipshowers.com and various

  other websites and the product manual show LED lights powered solely by running water with

  no batteries or electricity have a long life of 100,000 hours. (see Exhibit B).

           32.     Consumers on Amazon and other e-commerce sites have posted comments

  showing that the so-called long lifetime was as short as two weeks.

           33.     Interlink falsely represented the quality and lifetime of the LED showerheads in

  order to gain consumer’s purchasing decisions.

           34.     Interlink’s misrepresentation of the life time of the LED lights are material to

  consumers, many of whom would not have purchased Interlink’s products if they knew these

  statements were false, instead, they would have purchased Cathy Trading or any other

  competitors’ products.

           35.     Interlink has been unjustly enriched by the sales of its showerhead products with

  poor quality. See Exhibit D which shows Interlink’s false advertising of 100,000 hours of usage

  of LED lights.

           36.     Interlink’s instruction to remove water flow regulators is a way to disguise its



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  practice of circumventing the Federal regulation and gain more satisfying shower experience for

  many consumers, resulting in positive evaluations of Interlink’s products despite their low

  quality.

         37.     Interlink’s false statements and misguided and unlawful flow regulator removal

  practices are material to consumers, many of whom would not have purchased Interlink’s

  showerheads if they had known that these representations were false, but would instead have

  purchased the showerheads of other manufacturers, including Cathy Trading.

         38.     Interlink’s practice of stating, that its showerheads put out no more than 2.5 gpm

  of water at 80 p.s.i. of water pressure, but on the other hand, installs an easily removable flow

  regulator renders Interlink’s showerheads in violation of the federal law and this violation is

  material to retailers, some or all of which would not have purchased and resold Interlink’s

  showerheads. If Interlink’s retailers had known that these representations were in fact

  circumvented by the falsified flow regulators, but may have instead have purchased and resold

  the showerheads of other manufacturers, including Cathy Trading.

         39.     Interlink’s misrepresentation of its product compliance with the law is deceptive.

         40.     Interlink’s false statements to allow customers to easily remove flow regulators

  were made willfully and with the intention of causing confusion, mistake or deception in the

  market, making this an exceptional case within the meaning of 15 U.S.C. § 1117(a) entitling

  Cathy Trading to an award of enhanced damages and reasonable attorney’s fees.

                                               COUNT I

                    False Advertising Under Section 43(a) of the Lanham Act

         41.     Cathy Trading restates and re-alleges each and every allegation contained in

  Paragraphs 1 through 40 of these Counterclaims as if set forth fully herein.



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          42.        The foregoing acts of Interlink constitute violations of Section 43(a) of the

  Lanham Act, 15 U.S.C. § 1125(a). Section 43(a) of the Lanham Act prohibits, in relevant part,

  any “false or misleading description of fact, or false or misleading representation of fact

  which…in commercial advertising or promotion, misrepresents the nature, characteristics, [or]

  qualities . . . of his or her or another person’s goods, services or commercial activities.”

          43.        Interlink’s advertisements and promotions in various commercial channels have

  been and still are false and misleading as to the nature, quality, characteristics, and health

  benefits associated with Interlink’s products, and these misrepresentations have deceived and

  will continue to deceive a substantial portion of the consumers and retailers and the rest of the

  market participants.

          44.        Interlink’s false and misleading statements were made in connection with

  commercial advertising and promotion.

          45.        Interlink’s false and misleading commercial statements regarding the nature,

  quality, characteristics, performance, legality and benefits associated with its products are likely

  to influence consumers’ purchasing decisions.

          46.        Interlink’s false and misleading statements have caused Cathy Trading and other

  competitors in similar position to suffer injuries.

          47.        As a direct and proximate result of such actions, Cathy Trading has suffered, and

  continues to suffer, injury in fact and has lost money and/or property as a result of Interlink’s

  deceptive, unfair and/or unlawful trade practices and unfair competition in an amount that will be

  proven at trial.


                                            COUNT II
                                    Common Law Unfair Competition



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         48.     Cathy Trading restates and re-alleges each and every allegation contained in

  Paragraphs 1 through 45 of these Counterclaims as if set forth fully in the Complaint.

         49.     Interlink’s more sophisticated and repeat customers know that, unlike many

  showerheads, Interlink showerheads have easily fall-out water flow regulators that are installed

  in a way that circumvent the EPA regulation, i.e., “flow­restricting insert shall be mechanically

  retained at the point of manufacture such that a force of 8.0 pounds of force (36 Newtons) or

  more is required to remove the flow-restricting insert.” See 10 C.F.R. § 430.32 Energy and

  water conservation standards, (p) Showerheads.

         50.     Interlink’s customers also know that removing the flow regulators makes the

  showerheads non-compliant with the maximum flow limit under federal law.

         51.     Once the flow regulators are removed, the majority of Interlink’s flow regulators

  break and never can be reused again.

         52.     Interlink does not provide spare flow regulators, but rather a spare “Thick

  Replacement Washer” to permanently disable the flow regulating function.

         53.     Interlink engages in this sham flow regulator practice to aid consumers to self-

  install showerheads that puts out far more water than a showerhead that can be manufactured and

  sold legally in the United States.

         54.     These customers are inclined to purchase Interlink products in order to

  circumvent the provisions of the Energy Policy Act and subvert its public policy purposes.

         55.     Through its disguised representation of flow rate compliance however installing

  easily fall out restrictors for circumventing the Energy Policy Act, Interlink secures an unfair

  competitive advantage while causing injury to Interlink’s law-abiding showerhead competitors,

  U.S. energy consumption, the environment, and the general public.



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          56.      As a direct and proximate result of such actions, Cathy Trading has suffered, and

  continues to suffer, injury in fact and ascertainable losses of money and/or property as a result of

  Interlink’s unfair and/or unlawful trade practices and unfair competition in an amount that will

  be proven at trial.

          57.      As a direct and proximate result of such actions, Interlink has enjoyed, and

  continues to enjoy, significant financial gain in an amount that will be proven at trial.

          58.      Interlink’s unfair and unlawful trade practices are continuing, and are likely to

  reoccur.

                                           REQUEST FOR RELIEF

             Counter-Claimant Cathy Trading requests judgment against Counter-Defendant Interlink

  as follows:

          (a)      Interlink has violated Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a), and

  common law unfair competition; Interlink is liable for tortious interference with prospective

  business advantage and has competed unfairly with Cathy Trading and has injured Cathy

  Trading in violation of Federal and State Law and has done so willfully all to the detriment of

  Cathy Trading.

          (b)      Interlink, its agents, servants, employees, successors and assigns and all persons

  in active concert, privity, or participation with Interlink, be preliminarily and permanently

  enjoined from using any false description, misrepresentation or concealed instructions for

  circumventing federal laws, from engaging in any act or series of acts which either alone or in

  combination constitutes deceptive or unfair methods of competition by Interlink with Cathy

  Trading and from otherwise interfering with or injuring the business of Cathy Trading.




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         (c)       Interlink be required to account for and pay over to Cathy Trading, Interlink’s

  profits and any damages suffered by Cathy Trading as a result of Interlink’s acts of false

  advertising and unfair competition, together with interest and costs.

         (d)       Interlink be required to pay to Cathy Trading an amount three times the profits of

  Interlink or damages of Cathy Trading.

         (e)       Interlink be required to pay to Cathy Trading punitive damages in a sum to be

  determined at trial.

         (f)       Interlink be ordered to surrender for destruction all promotional materials, signs,

  labels, advertisements and other materials constituting false advertising and unfair competition

  and to issue corrective advertising to offset the impact and effect of the false, misleading and

  deceptive advertising claims previously disseminated.

         (g)       Cathy Trading be awarded such other and further relief, as this Court deems just

  and equitable.

                                    DEMAND FOR JURY TRIAL

         Cathy Trading demands a trial by jury on all triable issues.


  Dated: April 10, 2017                         Respectfully Submitted,

                                                HILL WALLACK LLP

                                                By: /s/ Christina Saveriano
                                                Eric I. Abraham
                                                Christina L. Saveriano
                                                eabraham@hillwallack.com
                                                csaveriano@hillwallack.com
                                                21 Roszel Road
                                                Princeton, New Jersey 08540
                                                Tel.: (609) 924-0808
                                                Fax : (609) 452-1888
                                                Attorneys for Defendant/Counter-Claimant
                                                   Cathy Trading, LLC

                                                   18
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                                             310



                CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2

         On behalf of Defendant/Counter-Claimant Cathy Trading, LLC, I hereby certify that, to

  the best of my knowledge, the matter in controversy is not the subject of other civil actions

  pending in any Court or of any pending arbitration or administrative proceeding.

  Dated: April 10, 2017                      Respectfully Submitted,

                                             HILL WALLACK LLP

                                             By: /s/ Christina Saveriano
                                                 Eric I. Abraham
                                                 Christina L. Saveriano
                                                 eabraham@hillwallack.com
                                                 csaveriano@hillwallack.com
                                                 21 Roszel Road
                                                 Princeton, New Jersey 08540
                                                 Tel.: (609) 924-0808
                                                 Fax: (609) 452-1888



                                             Attorneys for Defendant/ Counter-Claimant Cathy
                                             Trading LLC




                                                 19
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               CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 201.1


         Pursuant to Local Civil Rule 201.1, the undersigned counsel for Defendant/Counter-

  Claimant Cathy Trading LLC hereby certifies that Cathy Trading’s Amended Counterclaims

  seek injunctive relief and damages, excluding interest, costs and punitive damages, in excess of

  $150,000. This action is, therefore, not appropriate for compulsory arbitration.

  Dated: April 10, 2017                       Respectfully Submitted,

                                              HILL WALLACK LLP

                                              By: /s/ Christina Saveriano
                                                  Eric I. Abraham
                                                  Christina L. Saveriano
                                                  eabraham@hillwallack.com
                                                  csaveriano@hillwallack.com
                                                  21 Roszel Road
                                                  Princeton, New Jersey 08540
                                                  Tel.: (609) 924-0808
                                                  Fax: (609) 452-1888


                                              Attorneys for Defendant/ Counter-Claimant Cathy
                                              Trading, LLC




                                                  20
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                                    CERTIFICATE OF SERVICE

          This is to certify that a true and correct copy of the foregoing

       CATHY TRADING’S AMENDED ANSWER, AFFIRMATIVE DEFENSES AND
                COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT

  is to be electronically filed. Notice of this filing will be sent to all parties by operation of the
  Court’s electronic filing system. Parties may access this filing through the Court’s system.




  April 10, 2017                                          /s/Christina Saveriano
  Date                                                    Christina Saveriano
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                             EXHIBIT A
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Showers and Systems         Therapeutic Showers         Bathroom Accessories          Personal Care      Specials




Home      Specials
PowerSpa All-Chrome 3-Way 7-Color LED Shower Combo with Air Turbo Pressure-Boost Nozzle Technology

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PowerSpa All-Chrome 3-Way 7-Color LED Shower Combo with Air Turbo Pressure-Boost Nozzle Technology

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Home      Showers and Systems        Combination Showers
PowerSpa All-Chrome 3-Way 7-Color LED Shower Combo with Air Turbo Pressure-Boost Nozzle Technology

Home      Showers and Systems        LED Showers
PowerSpa All-Chrome 3-Way 7-Color LED Shower Combo with Air Turbo Pressure-Boost Nozzle Technology


                                                               POWERSPA®

                                                               PowerSpa All-Chrome 3-
                                                               Way 7-Color LED Shower
                                                               Combo with Air Turbo
                                                               Pressure-Boost Nozzle
                                                               Technology
                                                               $99.99 $39.99
                                                               (You save $60.00)

                                                                   Recommend Be the first of your friends to recommend
                                                                             this.

                                                               SKU:

                                                               1188

                                                               Weight:

                                                               1.50 LBS
                                                          Availability:
            Case 2:16-cv-02153-MCA-LDW    Document 39-5     Filed 04/10/17   Page 25 of 73 PageID:
                                                  315
                                                          In Stock

                                                          Shipping:

                                                          Calculated at checkout

                                                          Quantity:

                                                           1




                                                            ADD TO CART           ADD TO WISHLIST




Product Description

PowerSpa All-Chrome 3-Way 7-Color LED Shower Combo with Air Turbo
Pressure-Boost Nozzle Technology

The All-Chrome 7-Color 3-Way Multi-Function LED Twin Shower Combo by PowerSpa is the world’s
only color-changing LED shower combo with a chrome face and Air Turbo Pressure Boost Nozzle
technology! This shower includes a LED shower head and a LED hand shower. You can use the two
LED Shower Heads separately or use both the LED Shower head and LED Handheld Shower together!


Each LED shower head is powered by running water and has seven colors of LED lights that change
automatically every few seconds! Both showers are angle-adjustable and feature an extra-large 4-inch
chrome face, a high-power 3-zone dial, rub-clean jets, a 3-way water diverter, a premium super flexible
stainless steel hose, and 4-Settings, such as Rain, Massage, Rain/Massage mix, and Water-Saving
Economy.


The supercharged Air Turbine design boosts your water pressure performance by automatically injecting
oxygen into water flow through elastic rub-clean nozzles that help prevent clogging.


The LED lights have a long life of 100,000 hours. That is over 10 years of heavy daily use!


This LED shower system connects in minutes without tools to any standard overhead shower arm.
      Powered by running water, no batteries. Seven colors of LED lights change automatically every few
      seconds Case 2:16-cv-02153-MCA-LDW Document316   39-5 Filed 04/10/17 Page 26 of 73 PageID:
      Matching style shower head and a hand shower can be used separately or together
      Both shower features Supercharged Air Turbine Design that boost your water pressure performance
      by automatically injecting oxygen into water flowthrough elastic rub-clean nozzles that help prevent
      clogging.
      Each shower has 4-Settings: Rain, Massage, Rain/Massage mix, and water-saving Economy.
      Hand Shower can be used Overhead or as a Handheld shower
      Shower Head features extra-large 4-inch face with Reflective Perimeter Rim
      Each shower has High-power 3-Zone Dial with Rub-clean Jets; Click-action Lever
      Both showers are angle-adjustable
      Patented 3-way Water Diverter with Anti-swivel Lock Nut
      Includes Premium Super Flexible 5-ft. Stainless Steel Hose
      Color of LED lights: 7-colors change automatically every few seconds
      LED lights have long life of 100,000 hours (over 10 years of heavy daily use)
      Connects in Minutes without Tools to any standard overhead shower arm
      1-Year Warranty




Warranty Information

1 Year Warranty



Other Details

Finish:

Chrome

Flow Rate (GPM):

2.5

Hose Length:

6'


Product Reviews


Find Similar Products by Category




Customers also viewed
           Case 2:16-cv-02153-MCA-LDW   Document 39-5   Filed 04/10/17     Page 27 of 73 PageID:
                                                317




 Luminex 24-          HotelSpa®            Dreamspa®            PowerSpa® All-           Hotelspa® Giant
Setting 7-Color      Hydro-Flip 6          Temperature           Chrome LED                10" Rainfall
 LED Shower            Inch Multi-        Sensitive LED            Overhead              Color-changing
Combo with Air       Directional 4-       Combination            Shower Head               LED Shower
Turbo Pressure      Setting Rainfall         Shower              with Air Turbo           Head with 15"
 Boost Nozzle        Showerhead               $99.99            Pressure-Boost             Arch Height-
  Technology        with Cascading                                   Nozzle                 adjustable
 $99.99 $89.99          Waterfall                                 Technology              Extension Arm
                     $69.99 $44.99                                       $44.99           $149.99 $99.99




Related Products
             Case 2:16-cv-02153-MCA-LDW   Document 39-5   Filed 04/10/17    Page 28 of 73 PageID:
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DreamSpa All-         Luminex 7-Color      PowerSpa® All-        PowerSpa® All-            PowerSpa 7-
Chrome 3-Way           4-Setting LED        Chrome LED            Chrome LED                Color LED
 LED Shower           Shower Head w/          Overhead              Handheld                 Handheld
Head/Handheld            Air Turbo          Shower Head          Shower with Air          Shower with Air
Shower Combo          Pressure Boost        with Air Turbo       Turbo Pressure-          Turbo Pressure-
 with Air Turbo           Nozzle           Pressure-Boost         Boost Nozzle             Boost Nozzle
     Nozzle             Technology              Nozzle             Technology               Technology
  Technology              $44.99             Technology                $59.99                  $49.99
    $99.99                                     $44.99




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                 Case 2:16-cv-02153-MCA-LDW       Document 39-5   Filed 04/10/17   Page 29 of 73 PageID:
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Shipping Policy                                              Aquagenix® Fusion
Warranty                                                     AquaPalm®
Wholesale                                                    HotelSpa® Resort
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                             EXHIBIT B
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                             EXHIBIT C
          Case 2:16-cv-02153-MCA-LDW                                 Document 39-5                  Filed 04/10/17
Aqua Spa 1140 Trident Giant 3-Setting 7-Zone Luxury Rainfall Showerhead with Direction-Adjustable Jets, 9.5-Inch - - Amazon.com    Page 34 of 73 PageID:
                                                                                                                                                    6/22/16, 2:49 PM
                                                                             324

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  Customers who viewed Aqua Spa 1140 Trident Giant 3-... also viewed:
              AKDY® 9" Rectangular Quad                                   HotelSpa® Extra-Large 6-Inch Rain                           DreamSpa AquaFan 12 inch All-
              Function Rainfall Jet Shower Head &                         Shower Head for Exceptional Water                           Chrome Rainfall-LED-Shower-Head
              Wand Co…                                                    C…                                                          with Col…
              Buy new: $39.99                                             Buy new: $16.99                                             Buy new: $59.99
              7 Used & new from $39.78                                    4 Used & new from $16.99                                    3 Used & new from $59.99
                             (325)                                                         (271)                                                        (78)


  Tools & Home Improvement › Kitchen & Bath Fixtures › Bathroom Fixtures › Bathtub Faucets & Showerheads › Showerheads › Fixed Showerheads


   Sub                                                           Aqua Spa 1140 Trident Giant 3-                                       Share                         130+ Shares
   mit
                                                                 Setting 7-Zone Luxury Rainfall                                         Buy used:                        $28.24
   Sub                                                           Showerhead with Direction-                                             FREE Shipping on orders over
   mit
                                                                 Adjustable Jets, 9.5-Inch                                              $49. Details
   Sub                                                           by Aqua Spa                                                            Used: Like New | Details
   mit                                                                                51 customer reviews                               Sold by Amazon Warehouse Deals
                                                                                                                                        Fulfilled by Amazon
   Sub                                                           Available from these sellers.
   mit                                                                                                                                               Add to to
                                                                                                                                                             Cart
                                                                    Trident Giant 3-setting 7-zone 9.5" Luxury Rainfall                                Add     Cart
   Sub                                                              Showerhead with Direction-Adjustable Jets • 4-zone
   mit                                                              Drenching Rainfall for extra-wide coverage
                                                                                                                                        Turn on 1-Click ordering for this browser
                                                                    106 Rub-clean Rainfall Nozzles • 3-zone High-Power
   Sub                                                              Direction-Adjustable Massage Jets with 6 nozzles in
   mit                                                              each • Each Massage Jet can direct water flow to a
                                                                    different body area, or to one spot for penetrating triple-
   Sub
                                                                    power massage.
   mit                                                                                                                                    Add to List
                                                                    EasySwitch design lets you change settings instantly
                                                                    with one hand. No inner dial to turn, simply rotate the
                                                                    Trident shape. • Three settings include Drenching Rain,
                                                                    Power Massage and Combination • Premium All-chrome                      Other Sellers on Amazon
                                                                    finish
                    Roll over image to zoom in                      Angle adjustable solid brass ball joint nut • Connects to          2 used from $28.24
                                                                    any standard overhead shower arm in minutes without
                                                                    any tools                                                          Have one to sell?          Sell on Amazon
                                                                    Lifetime Limited Warranty is provided by Interlink
                                                                    Products International, Inc. This warranty is void if the
                                                                    products have been purchased from an unauthorized
                                                                    distributor.
                                                                 › See more product details

                                                                 2 used from $28.24                                                                            Moves Where
                                                                                                                                                               You Want It,
                                                                                                                                                                Stays Put
                                                                                Renovate your home this summer
                                                                                Featured deals include faucets, light fixtures,
                                                                                and more. Shop now.                                    10% off coupon
                                                                                                                                       on FlexNeck Shower Head with
                                                                                                                                       PowerSpray, NML-603
                                                                                                                                       Offer ends on or before 7/1/16
  Customers Who Bought This Item Also Bought                                                                         Page 1 of 2                                     Ad feedback




https://www.amazon.com/Aqua-Spa-1140-Showerhead-Direction-Adjustable/dp/B00TABTQZK                                                                                          Page 1 of 7
          Case 2:16-cv-02153-MCA-LDW                                 Document 39-5                   Filed 04/10/17
Aqua Spa 1140 Trident Giant 3-Setting 7-Zone Luxury Rainfall Showerhead with Direction-Adjustable Jets, 9.5-Inch - - Amazon.com Page 35 of 73 PageID:
                                                                                                                                                 6/22/16, 2:49 PM
                                                                             325




               Delta Faucet UA902-PK                 HotelSpa® 11 Inch Solid           Dixon Valve PTFE
               Universal Showering                   Brass Height/Angle                Industrial Sealant Tape
               Components 10 -Inch                   Adjustable Extension Arm                            550
               Adjustable Shower Arm,…               for Perfect Height, Angle…         #1 Best Seller    in Industrial
                                   1,012                            117                Thread Sealants
                  #1 Best Seller    in Shower        $19.49                            $2.00
               Arms & Slide Bars
               $18.84

  Sponsored Products Related To This Item (What's this?)                                                                                                    Page 1 of 22




            BIDET4ME MSH-10 2.5                 Hydroluxe® 30-Setting         Speakman S-2005-H Hotel             DSIKER®Rejuvenate Skin       KES TP501B-2 Bathroom
            GPM Rain Showerhead                 Ultra-Luxury 3-way 6 Inch     Anystream High Pressure             and Your Hair Loss           Five Function Handheld
            and Wireless Speaker,               Rainfall Shower               Adjustable Shower Head,             Prevention Filtered Shower   Shower and Showerhead
            Polished Chrome +…                  Head|Handheld Shower…         Polished Chrome                     Head System with…            Combo System with 79…
                             24                               105                              123                $39.99                                   15
            $41.78                              $34.99                        $37.79                                                           $37.80
                                                                                                                                                           Ad feedback



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  Technical Details
     Adjustable
     Easy to Install
     Rub Clean Jets
     Fits Any Standard Shower Arm
     Lifetime Limited Warranty




https://www.amazon.com/Aqua-Spa-1140-Showerhead-Direction-Adjustable/dp/B00TABTQZK                                                                              Page 2 of 7
          Case 2:16-cv-02153-MCA-LDW                             Document 39-5          Filed 04/10/17              Page 36 of 73 PageID:
Aqua Spa 1140 Trident Giant 3-Setting 7-Zone Luxury Rainfall Showerhead with Direction-Adjustable Jets, 9.5-Inch - - Amazon.com      6/22/16, 2:50 PM
                                                                         326
  Product Description
      Trident Giant 3-setting 7-zone 9.5 Inch Luxury Rainfall Showerhead with Direction-Adjustable Jets

      • 4-zone Drenching Rainfall for extra-wide coverage
      • 106 Rub-clean Rainfall Nozzles
      • 3-zone High-Power Direction-Adjustable Massage Jets with 6 nozzles in each
      • Each Massage Jet can direct water flow to a different body area, or to one spot for penetrating triple-power massage.
      • EasySwitch design lets you change settings instantly with one hand. No inner dial to turn, simply rotate the Trident shape.
      • Three settings include Drenching Rain, Power Massage and Combination
      • Premium All-chrome finish
      • Angle adjustable solid brass ball joint nut
      • Tools-free Installation. Connects in minutes to any standard overhead shower arm, no tools required
      • Lifetime Limited Warranty is provided by Interlink Products Int Inc. This warranty is void if the product has been purchased from an
      unauthorized distributor


  Product Information

  Technical Details                                                               Additional Information

       Part Number                        1140                                      ASIN                                   B00TABTQZK

       Item Weight                        1.2 pounds                                Customer Reviews                                            51 customer
                                                                                                                           reviews
       Product Dimensions                 9.5 x 4 x 9.5 inches                                                             3.8 out of 5 stars

       Item model number                  1140                                      Best Sellers Rank                      #181,190 in Home Improvements
                                                                                                                           (See top 100)
       Size                               9.5 Inch                                                                         #684 in Home Improvement >
                                                                                                                           Kitchen & Bath Fixtures >
       Color                              Silver
                                                                                                                           Bathroom Fixtures > Bathtub
       Style                              Ultra-Luxury Extra Large Rain                                                    Faucets & Showerheads >
                                          Shower Head with Jets                                                            Showerheads > Fixed
                                                                                                                           Showerheads
       Finish                             Chrome
                                                                                    Shipping Weight                        1.5 pounds
       Material                           High Grade ABS, Chrome
                                                                                    Date First Available                   July 8, 2015
       Shape                              Flower

       Installation Method                Wall-Mounted
                                                                                  Warranty & Support

       Flow Rate                          2.5 GPM                                 Product Warranty: For warranty information about this product, please click
                                                                                  here
       Water Consumption                  2.5 GPM
                                                                                  Feedback
       Special Features                   Adjustable, Easy to Install, Rub
                                          Clean Jets, Fits Any Standard           Would you like to update product info or give feedback on images?
                                          Shower Arm, Lifetime Limited            Would you like to tell us about a lower price?
                                          Warranty

       Usage                              Rainfal Shower Head with Jets

       Included Components                Shower Head, Instruction
                                          Manual, Warranty



  Sponsored Products Related To This Item (What's this?)                                                                                              Page 1 of 25




https://www.amazon.com/Aqua-Spa-1140-Showerhead-Direction-Adjustable/dp/B00TABTQZK                                                                       Page 3 of 7
             Case 2:16-cv-02153-MCA-LDW                                Document 39-5                    Filed 04/10/17
Aqua Spa 1140 Trident Giant 3-Setting 7-Zone Luxury Rainfall Showerhead with Direction-Adjustable Jets, 9.5-Inch - - Amazon.com    Page 37 of 73 PageID:
                                                                                                                                                    6/22/16, 2:50 PM
                                                                               327




              HotelSpa® Emerald Ultra-          Hydroluxe® New 6" High             Moen S6365BN Voss 8"           HotelSpa® Extra-Large 6-           Amzdeal® Bath Shower
              Luxury Large 8 Inch               Pressure Super-Drenching           Eco-Performance Single-        Inch Rain Shower Head for          Faucet Kit--Rain Shower
              Rainfall Shower Head              Rainfall Shower Head with          Function Rainshower            Exceptional Water                  Head+ Handheld Shower
              Featuring 120 Easy To…            Hydro-Blast Technology…            Showerhead with…               Coverage! High-Pressure…           Head/ Conceal Installation
                             55                                 126                               8                                268                              2
              $23.99                            $19.99                             $162.90                        $16.99                             $99.99
                                                                                                                                                                    Ad feedback




  Customer Questions & Answers

       Have a question? Search for answers


               Question:          How many Gallons per minute?
      0
               Answer:            I have no idea. However, I do know it has a "regular flow" and an energy saving flow which is less (and is OK--the one I use)
     votes
                                  By CAB Traveler on May 5, 2016




  Customer Reviews
                       51
  3.8 out of 5 stars

  5 star                       55%       Share your thoughts with other customers
  4 star                       12%
  3 star                       15%          Write a customer review
  2 star                       8%
  1 star                       10%

  See all 51 customer reviews

  Top Customer Reviews                                                                                                                                             Ad feedback

                 I got it on Cyber Monday deal at super low price
  By Fagan E. Brown on December 7, 2015                                                                                    Customer Images
  Verified Purchase
  HOW TO FIX WATER PRESSURE ISSUE: I was very excited when I got this new shower head. I got
  it on Cyber Monday deal at super low price. So when I went to install it I checked to see if it had a
  water restrictor in it which it did not. Well, not the typical white plug style that a lot have in them. So I
  just installed it the way it came. But, to my great disappointment the water pressure through it was
  horrible. It was have the pressure of my old shower head. So I used it for another 4 days, but I was
                                                                                                                           Most Recent Customer Reviews
  just unhappy with the shower head. So on the 5th day I took it off and was going to put the old
  shower head back on. However, I thought I'll look and see if there is some reason it isn't getting good                                 Five Stars
  pressure. So I looked inside and found past the big black rubber gasket was a smaller black gasket                       Very easy to install
  about a 1/4 in diameter. So I took a very small flat head screw driver and pulled it out. I put the                      Published 8 days ago by Christopher
  shower head back on and tighten it back up. BINGO! The shower head now had triple the water
  pressure. That's it folks just remove the little black O ring inside and get plenty of pressure.                                        Great Shower Head
                                                                                                                           Love this shower head. It does use a lot of water. It
  Comment        13 people found this helpful. Was this review helpful to you?        Yes    No    Report
                                                                                                                           has good pressure!
  abuse
                                                                                                                           Published 1 month ago by CH



https://www.amazon.com/Aqua-Spa-1140-Showerhead-Direction-Adjustable/dp/B00TABTQZK                                                                                       Page 4 of 7
           Case 2:16-cv-02153-MCA-LDW                                 Document 39-5                   Filed 04/10/17     Page 38 of 73 PageID:
Aqua Spa 1140 Trident Giant 3-Setting 7-Zone Luxury Rainfall Showerhead with Direction-Adjustable Jets, 9.5-Inch - - Amazon.com           6/22/16, 2:50 PM
                                                                              328
                 Absolutely love it. Even me, a not handy person, installed this easily.                                        Five Stars
  By JanetD on December 22, 2015                                                                                 Best & Great Product ********
  Verified Purchase                                                                                              Published 1 month ago by Setthapongsin N.

  I didn't need a new shower head. The one that I had (from the early 2000's) was fine. However, this
                                                                                                                                This shower head does not work as
  shower head was specially priced for Christmas and the reviews were good, so I treated myself. Now
                                                                                                                 well as the ...
  I am a single woman who is not handy at all so I was a little worried about installing this, but there
                                                                                                                 This shower head does not work as well as the
  were a couple of reviews that said it was pretty easy, so I went for it. It was super easy. I had to use a
                                                                                                                 photo, It drips when not in use, had to replace back
  wrench to loosen my old shower head and then it unscrewed. Then, following the handy instructions
                                                                                                                 to original shower head.
  that came with this, you basically put a little plumbers tape (included) on to the long arm that sticks
                                                                                                                 Published 2 months ago by Christina Dansby
  out of the wall, and screw this one on.

                                                                                                                                To get a decent amount of pressure
  I did use the wrench to tighten this one since I felt like if the old was tightened, this one should be as
                                                                                                                 you have to ...
  well, and I wound up scratching it, but it's not noticeable, and this allows me to not have to worry
                                                                                                                 To get a decent amount of pressure you have to
  about it being on there tight. Who wants a shower head to hit you while you're in there, right?
                                                                                                                 adjust it so there is a ton of water being used.
                                                                                                                 Published 3 months ago by Amazon Customer
  Anyhow, I followed the suggestion of a reviewer here, and also in the instructions it says that there is
  a water saver feature to this shower head, and I used a tiny screwdriver to remove the small rubber                           Five Stars
  gasket in the bottom of the unit so that I would get superior water pressure.                                  Doesn't give much pressure.
                                                                                                                 Published 4 months ago by David Wilson
  I have used this now for a week and it's wonderful. It feels like I've entered a spa. There are three
  settings to use which gives me a lot of options. I honestly do not want to get out of the shower when                         Its ok, not worth the money in my
  I'm under this thing. It's that good.                                                                          opinion.
                                                                                                                 So so, wasn't impressed with the shower head, its
  Comment        Was this review helpful to you?     Yes    No    Report abuse
                                                                                                                 really loud.
                                                                                                                 Published 4 months ago by B. Green
                 Real reviews not cheap reviews.
  By Oklahoma Proud! on January 1, 2016                                                                                         Way underpowered
  Verified Purchase                                                                                              This works great as long as you dig out the water
  Great METAL shower head. It comes with a lock screw to insure the shower head doesn't come                     restrictor. The photo of this unit must have been
  unscrewed and leak or fall off. It easily switches between the different modes of spray. I would               taken with the water restrictor out. Read more
  recommend for anyone who likes firm spray like hard rain down to a light rain.                                 Published 4 months ago by turtlkky


  Don't belive other reviews based on a discounted price for a product. I've found to many reviews for                          Just the showerhead needed
  numerous shower heads because they were discounted on the purchase.                                            My wife loves.this shower head. It was simple
                                                                                                                 enough, and I'm confident she would have been able
  Real review not cheap review                                                                                   to install it had she been able to get the old one off.
                                                                                                                 Read more
  Comment        Was this review helpful to you?     Yes    No    Report abuse                                   Published 4 months ago by Paul O


                 We bought this on a lightening deal for our grown ...                                                          Get it if you have good water
  By Crackerjack on December 5, 2015                                                                             pressure.
                                                                                                                 Really feels like a rain shower if you have good water
  Verified Purchase
                                                                                                                 pressure. It helps work out all of those kinks. It is
  We bought this on a lightening deal for our grown kids. Because it looked a bit cheap, lots of plastic
                                                                                                                 easy to install and adjust for the different modes.
  construction, we hooked it up and tried it out to see if it was gift worthy. We were both wowed with it!
                                                                                                                 Read more
  It puts out a lot of water, has a broad spray reach which I found surprisingly satisfying. Down side,
                                                                                                                 Published 4 months ago by Cat Girl
  we drained the 50 gal hot water tank in remarkable time! Plan on higher water bills for this creature
  comfort. It's worth it IMO.
                                                                                                                  Search Customer Reviews
  Comment        Was this review helpful to you?     Yes    No    Report abuse
                                                                                                                                                      Search
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                 Nothing special
  By Elle S on December 2, 2015
  Verified Purchase
  This was a replacement shower head for husband's walk in shower. He's not too keen on it. He did
  have to remove the water reducer since we have notoriously low water pressure during main peak
  water usage hours. Even by doing that, this shower head doesn't give a nice strong spray like our old
  Moen brand did. So, he gives it just a so so rating. Personally I'm glad it's in his shower since I don't
  care for the look nor style.

  Comment        Was this review helpful to you?     Yes    No    Report abuse


                 AWESOME item!


https://www.amazon.com/Aqua-Spa-1140-Showerhead-Direction-Adjustable/dp/B00TABTQZK                                                                             Page 5 of 7
           Case 2:16-cv-02153-MCA-LDW                               Document 39-5                  Filed 04/10/17   Page 39 of 73 PageID:
Aqua Spa 1140 Trident Giant 3-Setting 7-Zone Luxury Rainfall Showerhead with Direction-Adjustable Jets, 9.5-Inch - - Amazon.com      6/22/16, 2:50 PM
                                                                            329
  By Chris M. on December 27, 2015
  Verified Purchase
  This was AWESOME. It was listed at a great price and required very minimal work to install. My
  shower had very low water pressure and this made it 10 times better! This is literally a LUXURY item
  for a low price!! LOVE it, best item I've bought in a long time.

  Comment        Was this review helpful to you?    Yes    No    Report abuse


                 Great gift for family
  By Lindsey De Pew on January 20, 2016
  Verified Purchase
  I bought this for my sister and brother-in-law for Christmas. They were doubtful because they don't
  have great water pressure. After installing it, they are very happy! It pushes out the water nicely and
  sits low enough so that my sister (who is 5'2") can adjust it when she needs to.

  Comment        Was this review helpful to you?    Yes    No    Report abuse


                 Definitely reccommend it!!
  By Ashley Jones on December 9, 2015
  Verified Purchase
  I love this shower head! I wanna come home everyday & just immediately take a shower. It's a little
  bigger than I thought but perfectly ok with that. The different water pressures is great for whatever
  mood ur in. Defnitely recommend this product.

  Comment        One person found this helpful. Was this review helpful to you?     Yes    No    Report
  abuse



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    Write a customer review




  What Other Items Do Customers Buy After Viewing This Item?

                 Dixon Valve PTFE Industrial Sealant Tape
                               550
                 $2.00

                 Delta Faucet UA902-PK Universal Showering Components 10 -Inch Adjustable Shower Arm, Chrome
                               1,012
                 $18.84


                 AKDY® 9" Rectangular Quad Function Rainfall Jet Shower Head & Wand Combo In Chrome
                               325
                 $39.99


                 DreamSpa 1432 3-way Rainfall Shower-Head and Handheld Shower, Chrome
                               783
                 $29.99




https://www.amazon.com/Aqua-Spa-1140-Showerhead-Direction-Adjustable/dp/B00TABTQZK                                                          Page 6 of 7
           Case 2:16-cv-02153-MCA-LDW                                         Document 39-5                          Filed 04/10/17
Aqua Spa 1140 Trident Giant 3-Setting 7-Zone Luxury Rainfall Showerhead with Direction-Adjustable Jets, 9.5-Inch - - Amazon.com                             Page 40 of 73 PageID:
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                             EXHIBIT D
            Case 2:16-cv-02153-MCA-LDW                                     Document 39-5                    Filed 04/10/17
HotelSpa® 10 Inch Color Changing Rainfall LED Shower Head with 15 …ange color according to water temperature (Chrome) - - Amazon.com     Page 42 of 73 PageID:
                                                                                                                                                          6/22/16, 5:07 PM
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                Try Prime
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  Sub                                                                 HotelSpa® 10 Inch Color Changing                                               Share

  mit
                                                                      Rainfall LED Shower Head with 15                                                       Qty:    1
  Sub                                                                 Inch Arch Height Adjustable
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                                                                          HotelSpa LED Shower Head with Extention Arm is the
                                                                          largest and most advanced height-adjustable LED                     Have one to sell?          Sell on Amazon
                       Roll over image to zoom in
                                                                          showerhead ever created. It has Extra-long 15 Inch Arch-
                                                                          design extension arm that extends fully over your head
                                                                          and adjusts to your height. Ergonomic High-fashion
                                                                          Design adds style and ambiance to your bath decor
                                                                          Giant 10 inch LED Rainfall Shower Head with Reflective
                                                                                                                                                  Vonn Modern Lighting
                                                                          Chrome Face and LED Perimeter Rim is Powered by
                                                                          running water, no batteries. Color of LED lights changes
                                                                          automatically according to water temperature and LED
                                                                          lights have long life of 100,000 hours (over 10 years of
                                                                          heavy daily use)
                                                                                                                                              VONN Modern Contemporary 23" Led
                                                                          Lightweight and Reinforced Extention Arm has Chrome
                                                                                                                                              Bathroom Light, V
                                                                          Plated ABS Plastic Ends, Solid Brass Screws and Hollow                           2
                                                                          Stainless Steel Oval Profile Arch Arm Profile, Large Wing
                                                                                                                                              $199.95
                                                                          Nut with Brass Inserts for easy and reliable hand
                                                                          tightening
                                                                                                                                                                             Ad feedback
                                                                          Extra-long 15 Inch Elegant Arch-Design Extention Arm is
                                                                          Angle Adjustable, provides 3 ft. vertical movement • Wall-
                                                                          Mounted Installation • Connects in minutes without tools
                                                                          1 Year Limited Warranty is provided by Interlink Products
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        This item: HotelSpa® 10 Inch Color Changing Rainfall LED Shower Head with 15 Inch Arch Height Adjustable… $59.99
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        Delta Faucet UA902-PK Universal Showering Components 10 -Inch Adjustable Shower Arm, Chrome $18.84




  Customers Who Bought This Item Also Bought                                                                                                                     Page 1 of 7




            DreamSpa AquaFan 12            Soledi S-35722 LED Water           Delta Faucet UA902-PK               DreamSpa All Chrome         {Factory Direct Sale} NEW
            inch All-Chrome Rainfall-      Faucet, Multi-color                Universal Showering                 Water Temperature           LED Water Stream Tap
            LED-Shower-Head with                             329              Components 10 -Inch                 Controlled Color Changing   Glow Shower Head Faucet
            Color-Changing LED…             #1 Best Seller    in Touch On     Adjustable Shower Arm,…             5-Setting LED Shower…       Light Temperature…
                           78              Bathroom Sink Faucets                                1,012                          522                         329
            $59.99                         $6.89                               #1 Best Seller        in Shower    $34.87                      $6.39
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                                                                              $18.84


  Sponsored Products Related To This Item (What's this?)                                                                                                     Page 1 of 15




            ShowerMaxx® 6 inch             8 Inch Chrome Rainfall             Best Ultra-Luxurious 8"             HotelSpa® High-Power        BECOLA Self-powered
            Circular Rainfall Ultra High   High Pressure Shower               Rainfall Style Shower Head          Ultra-Luxury 7-Setting      LED shower
            Pressure Shower Head           Head - 2.5 GPM Low Flow            by Dignitree®, High                 Large 5 Inch Shower-Head    head,Temperature Control
            Precision Engineered 90…       Rate Fixed Waterfall…              Pressure, 88 Rub-clean…             with Quick Connect from…    3 Color hand Shower Head
                           44                                26                                 33                             96             $17.77
            $29.97                         $27.99                             $24.99                              $12.99
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  Technical Details
     Easy to Install
     Rainfall
     Temperature Controlled
     Adjustable
     LED



  Compare to Similar Items




                                         This item: HotelSpa® 10 Inch            DreamSpa AquaFan 12 inch     DreamSpa All Chrome Water        Aidodo Shower Head 6'' Multi-
                                         Color Changing Rainfall LED             All-Chrome Rainfall-LED-     Temperature Controlled Color     Function Adjustable 6-Settings
                                         Shower Head with 15 Inch                Shower-Head with Color-      Changing 5-Setting LED           Ultra-Luxury Fixed Bathroom
                                         Arch Height Adjustable                  Changing LED/LCD             Shower-Head by Top Brand         Rainfall Shower Chrome
                                         Extension Arm. Powered by               Temperature Display          Manufacturer! Color of LED
                                         running water. LED lights                                            lights changes automatically
                                         change color according to                                            according to water temperature
                                         water temperature (Chrome)
  Customer Rating                                       (79)                                   (78)                          (522)                           (17)

  Price                                  $59.99                                  $59.99                       $34.87                           $21.99
  Shipping                               FREE Shipping                           FREE Shipping                FREE Shipping                    FREE Shipping
  Sold By                                Interlink Products                      Interlink Products           Interlink Products               VICTORY ROYAL
  Color                                  Chrome                                  Chrome                       Chrome                           silver

  Dimensions                             19.5 inches x 10 inches x 3             12 inches x 6.5 inches x 4   5 inches x 5 inches x 5 inches   0.2 inches x 5.9 inches x 3.7
                                         inches                                  inches                                                        inches

  Item Package Weight                    2.42 pounds                             1.25 pounds                  0.8 pounds                       1.7 pounds


                                         Add to Cart                             Add to Cart                   Add to Cart                     Add to Cart


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                                                                                                                                   6/22/16, 5:07 PM
                                                                        335
  Product Description
      HotelSpa® Giant 10 Inch Rainfall Temperature Color-Changing LED Showerhead and 15 Inch Height-Adjustable Arch Extension Arm with
      Stainless Steel Profile is the World's Most Luxurious LED Shower Head!

      HotelSpa LED Shower Head with Extension Arm is the largest and most advanced height-adjustable LED fixed mount overhead shower ever
      created; has Extra-long 15 Inch Height-Adjustable Arch Extension Arm with Stainless Steel Profile that extends fully over your head and adjusts
      to your height and needs. Ergonomic High-fashion Design adds style and ambiance to your bath decor.

      • LED Showerhead is powered by running water, no batteries
      • Giant 10 inch LED Rainfall Shower Head with Reflective Chrome Face and LED Perimeter Rim
      • Built-in Advanced 3-color-changing Water Temperature Sensor
      • Solid Brass Ball Joint
      • Elegant Arch-design Height-Adjustable Extension Arm is also included.
      • Extra-long 15 Inch arm length provides 3 ft. vertical movement range
      • Large wing nut with brass inserts for easy and reliable hand tightening
      • Color of LED lights changes automatically according to water temperature:
      ---- BLUE - Cool under 95F (35C),
      ---- GREEN - Warm 95-108F (35-42C),
      ---- RED - Hot 109-122F (43-50C),
      ---- FLASHING RED - Warning Hot over 122F (50C)
      • LED lights have long life of 100,000 hours (over 10 years of heavy daily use)
      • Connects in minutes without tools
      • 1-year Limited Warranty is provided by Interlink Products. This warranty is void if the products have been purchased from an unauthorized
      distributor.

      This Color-Changing LED Showerhead is perfect way give your Bathroom fresh new look or as Housewarming | Back To School Shopping | Labor

  Product Information

  Technical Details                                                             Additional Information

       Part Number                       1487                                     ASIN                                    B00OBW49H8

       Item Weight                       1.9 pounds                               Customer Reviews                                             79 customer
                                                                                                                          reviews
       Product Dimensions                10 x 3 x 19.5 inches                                                             3.5 out of 5 stars

       Item model number                 1487                                     Best Sellers Rank                       #60,964 in Home Improvements
                                                                                                                          (See top 100)
       Size                              10 inch                                                                          #284 in Home Improvement >
                                                                                                                          Kitchen & Bath Fixtures >
       Color                             Chrome
                                                                                                                          Bathroom Fixtures > Bathtub
       Style                             HotelSpa 10-inch Face Rainfall                                                   Faucets & Showerheads >
                                         Color-Changing LED                                                               Showerheads > Fixed
                                         Showerhead                                                                       Showerheads

       Finish                            Chrome                                   Shipping Weight                         2.4 pounds (View shipping rates
                                                                                                                          and policies)
       Material                          High-Grade Chrome Plated ABS,
                                         Stainless Steel                          Date First Available                    October 9, 2014

       Pattern                           Contemporary                           Warranty & Support
       Shape                             Circular
                                                                                Product Warranty: For warranty information about this product, please click
       Power Source                      Water                                  here

       Installation Method               Wall-Mounted                           Feedback

       Item Package Quantity             1                                      Would you like to update product info or give feedback on images?
                                                                                Would you like to tell us about a lower price?
       Flow Rate                         2.5 GPM

       Water Consumption                 2.5 GPM

       Extension Length                  15

       Type of Bulb                      LED

       Special Features                  Easy to Install, Rainfall,


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          Case 2:16-cv-02153-MCA-LDW                                 Document 39-5                 Filed 04/10/17               Page 46 of 73 PageID:
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                                                                             336
                                               Temperature Controlled,
                                               Adjustable, LED

       Usage                                   LED Rainfall Showerhead With
                                               Extention Arm

       Included Components                     LED Rainfall Shower Head,
                                               Extension Arm, Installation Guide
                                               and Warranty

       Batteries Included?                     No

       Batteries Required?                     No

       Warranty Description                    1 Year Limited Warranty. Interlink
                                               Products International, Inc. (the
                                               Company) warrants to the owner
                                               of this product that the product is
                                               free from defects in material or
                                               workmanship. If this product
                                               malfunctions or becomes
                                               damaged, stop use and return it
                                               to the Company for examination
                                               and/or repair. The Company will
                                               repair or replace any of this
                                               product's parts that exhibit
                                               defects in workmanship or
                                               materials for above stated period
                                               from date of purchase. If
                                               malfunction occurs, please
                                               contact the Company to obtain
                                               an RMA (Return Merchandise
                                               Authorization) number from the
                                               Customer Service Department.
                                               This warranty is void if the
                                               products have been purchased
                                               from an unauthorized distributor.

       Assembled Diameter                      10 inches



  Related Video Shorts




                                     3:18
               How to conserve water at
               home



  Important Information
      Directions
      Please refer to the Product Manual for installation instructions


      Seller Warranty Description
      1 Year Limited Warranty. Interlink Products International, Inc. (the Company) warrants to the owner of this product that the product is free from defects in material or
      workmanship. If this product malfunctions or becomes damaged, stop use and return it to the Company for examination and/or repair. The Company will repair or
      replace any of this product's parts that exhibit defects in workmanship or materials for above stated period from date of purchase. If malfunction occurs, please
      contact the Company to obtain an RMA (Return Merchandise Authorization) number from the Customer Service Department. This warranty is void if the product has
      been purchased from an unauthorized distributor.



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                                                                                                                                                       6/22/16, 5:07 PM
                                                                                337




              Moen DN8001CH Home               Best Ultra-Luxurious 8"            Harrahs LED Color                 Senlesen 10 Inch Square          ShowerMaxx® 6 inch
              Care Pause Control Hand          Rainfall Style Shower Head         Changing Shower New               Stainless Steel Shower           Circular Rainfall Ultra High
              Held Shower                      by Dignitree®, High                generation Magneto                head with Led,oil Rubbed         Pressure Shower Head
                            275                Pressure, 88 Rub-clean…            Therapy Anion Lighting            Bronze                           Precision Engineered 90…
              $30.72                                           33                 $25.99                            $48.00                                           44
                                               $24.99                                                                                                $29.97
                                                                                                                                                                       Ad feedback




  Customer Questions & Answers

       Have a question? Search for answers


               Question:          Does the shower head without the arm have a ball joint so that it can be tilted?
      0
               Answer:            Yepper...
     votes
                                  By R. J. Baran on December 7, 2015
                                   See more answers (2)


               Question:          can this be ceiling mounted?
      0
               Answer:            I don't believe so
     votes
                                  By Dennis T. on October 20, 2015
                                   See more answers (2)


               Question:          says wall mount...but I just install in the existing fitting right? In other words, just remove existing chrome piece and install this one. yes?
      0
               Answer:            Correct. It is pretty easy to do and I don't like plumbing. I installed 2 of them without any issues, at all
     votes
                                  By Dennis T. on September 8, 2015
                                   See more answers (3)


               Question:          Does the arm move down for lower hight?
      0
               Answer:            Most defiantly, however, it does not look to be of major durability. I put mine @ an adjusted position & have left it alone!
     votes
                                  By Pamela W. on November 7, 2015
                                   See more answers (1)



                                    See more answered questions (3)


  Customer Reviews

                       79
  3.5 out of 5 stars

  5 star                     48%         Share your thoughts with other customers
  4 star                     15%
  3 star                     14%           Write a customer review
  2 star                     8%
  1 star                     15%

  See all 79 customer reviews


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           Case 2:16-cv-02153-MCA-LDW                                 Document 39-5                   Filed 04/10/17        Page 48 of 73 PageID:
HotelSpa® 10 Inch Color Changing Rainfall LED Shower Head with 15 …ange color according to water temperature (Chrome) - - Amazon.com         6/22/16, 5:07 PM
                                                                              338
  Top Customer Reviews

                 Feels Like Im In a spa
  By Product Princess TOP 500 REVIEWER on February 9, 2015
  The HotelSpa 10" LED Rainfall Shower Head is Great! My hubby installed it in minutes and it
  connected very easily. It looks very beautiful and while showering, I felt like I was on a vacation in an
  exotic resort some where. I usually take hot showers so when I turned the knob to hot, within seconds
  the LED light turned Red meaning the water was at a hight heat temperature.
  As I was testing it I did see all the color changes from Blue (cold water setting), Green (warm water
  setting) and Red (hot water setting).

  This is such a wonderful feature because you can actually see and control your settings and because
  of its rainfall design you can choose high or low water pressure and you still get an even shower. It
  can save you money as well if you don't have too much water pressure but the choice is up to the                                                          Ad feedback
  individuals preference.
  I did notice when I opened the shower head it was not steel, but it does come with a stainless steel
  extension arm for heigh adjustment.                                                                            Customer Images
  But over all it's a great design and it looks beautifully displayed.

  You don't need a big bathroom to own this Fancy Shower Head, my bathroom is fairly small and it still
  fit and displayed beautifully.

                                                                                                                 See all customer images


                                                                                                                 Most Recent Customer Reviews

                                                                                                                                 Great at first, but now just a noisy,
  Comment       10 people found this helpful. Was this review helpful to you?      Yes    No    Report           flashing shower head
  abuse                                                                                                          Easy to install and worked well for a couple months. It
                                                                                                                 quickly started squealing and making noises related to
                                                                                                                 water pressure (our other shower heads have not
                 A Gentle, Soothing Rain Shower
                                                                                                                 done this). Read more
  By The Happy Clown With A Frown on March 2, 2015
                                                                                                                 Published 5 days ago by Wendi Lopez
  UPDATE: While I still love the rainfall experience this shower head offers, one of the features and
  selling points is the LED lights that indicate the water temperature. After using this for several weeks,                      Wasted money. This is junk
  the lights quit working in mine. I tried to contact to company about it and have not received a response       LED only displays red at 60 days from purchase (less
  so I am quite disappointed in that fact.                                                                       from install). No exchange policy. Wasted money. This
                                                                                                                 is junk. Buy something else.
  I have been wanting one of these for a long time! I know a few people that have similar shower heads           Published 11 days ago by PaulyT
  and I have heard good things so I was very excited when I received a HotelSpa®10 Inch Rainfall
  Color-Changing LED Showerhead to review.                                                                                       THE LIGHTS DONT WORK!
  I've been using this one for a few weeks now and for the most part really like it. It was fairly easy to       The lights only worked for about a minute and haven't
  install. It went rather smoothly and we were able to have it connected and ready to use within several         since. Amazon would only give me a 20% refund for
  minutes.                                                                                                       selling me a defective product. Read more
  The HotelSpa® shower head cascades water from the 10 inch head. It falls gently and gives the feel             Published 1 month ago by Mackenzie Boyle
  of being in a rain shower. It is incredible relaxing. The 15" arm allows you to adjust the height to your
  liking.                                                                                                                        Five Stars
  The shower head has LED lights in it that are powered by the water itself so you don't have to worry           Love it!
  about wiring or batteries to power them.                                                                       Published 2 months ago by Maria
  The lights give you an indication of the water temperature by changing colors. When the water is cold,
                                                                                                                                 I m satisfied with item
  the lights are blue. When it is warm, the lights turn green and when the water is hot, the lights turn red.
                                                                                                                 I m satisfied with item ... only wonder that look like a
  It took a a few showers to get used to the water falling straight down instead of at an angle, but I'm
                                                                                                                 rain not shower ... well no complain ... I love it I relies
  finding that I do like it.
                                                                                                                 it is a rain showerhead ... well love it ..thx
  I only have two things that fall into the "con" list. One is that the shower head makes a sound like a
                                                                                                                 Published 3 months ago by cliffwood beach
  whine. It isn't super loud, but I notice it. I am not sure if it is caused from whatever makes the lights
  work once the water is flowing through it. Read more ›
                                                                                                                                 Five Stars
                                                                                                                 thanks
                                                                                                                 Published 4 months ago by Amazon Customer

                                                                                                                                 Five Stars
                                                                                                                 Excellent, exactly what I was looking for. Thanks
                                                                                                                 Published 4 months ago by Tadeusz Szyszka
  Comment       7 people found this helpful. Was this review helpful to you?      Yes    No    Report abuse




https://www.amazon.com/HotelSpa®-Adjustable-Extension-according-t…0+inch+rainfall+color-changing+led+shower+head+with+extension+arm                               Page 7 of 10
           Case 2:16-cv-02153-MCA-LDW                                     Document 39-5                    Filed 04/10/17      Page 49 of 73 PageID:
HotelSpa® 10 Inch Color Changing Rainfall LED Shower Head with 15 …ange color according to water temperature (Chrome) - - Amazon.com            6/22/16, 5:07 PM
                                                                                  339
                  Decent product. Leaked at first, but that was just the air pressure, Feels good.                                    Fun Rain Head
  By Spencer Hutton on January 9, 2015                                                                                Wife and daughter LOVE this 10" shower head and I
  Verified Purchase                                                                                                   admit so do I. Installation was quick and easy at least
  I'll comment to the other reviewers who say this product leaks. I did seal the threads with Teflon tape             for me but I do have a bit of experience with light
  and there was NO LEAKING from those joints. However, the first time I used it, it did leak from the                 plumbing. Read more
  factory seams. It does not leak anymore. I suspect the leaking may have been from the air trapped                   Published 4 months ago by Seewiz
  inside the fixture which was forced out when the water pressure came rushing through the shower
                                                                                                                                      Best thing I have bought in a long
  head the first time. It is a little noisy, but that must be expected for a product like this; not for a regular
                                                                                                                      time.
  shower head, but a LED one. I have been using it for 2 weeks and no leaks. The rainfall feeling is
                                                                                                                      THIS IS GREAT!
  good. The light color isn't incredibly bright and I cannot notice it with the bathroom lights on. Looks
                                                                                                                      Arrived yesterday, took less than 10 minutes to install.
  pretty cool in the dark, but I don't shower in the dark, I just turned out the lights to see. All in all, the
                                                                                                                      Just be delicate with it while handling. Water colors
  shower head feels good, doesn't leak (anymore) and has a slight hum noise, but you hardly notice it.
                                                                                                                      look great! It's perfect!
  No massage settings, but I didn't use those with the last one. For the price, you'd think you would get
                                                                                                                      Published 5 months ago by Aspiring Supermom
  something like that. The color changes from Blue (cold) to Green (warm) to Red (hot) as the water
  temp gets hotter. Green is plenty for me.
                                                                                                                                      Five Stars
  Comment        9 people found this helpful. Was this review helpful to you?         Yes    No    Report abuse       Love it! Looks beautiful. ..
                                                                                                                      Published 5 months ago by Hazzel

                  TERRIBLE!
  By Megan E. Peason on December 8, 2014                                                                               Search Customer Reviews

  This thing is absolutely awful. The noise it makes is migraine-inducing and the water pressure is just                                                 Search
                                                                                                                                                         Submit
  awful. No matter how much you try to seal any possible leaking areas, the pressure is weak. Spend
  your money on something better, it's nowhere near worth what it costs!

  Comment        7 people found this helpful. Was this review helpful to you?         Yes    No    Report abuse


                  poor product
  By eightball64 on January 16, 2015
  Verified Purchase
  extension arm leaks on both ends. Tried to contact customer service twice all I got was voice mail with
  no returned call. I would not recommend this product or this company.

  Comment        9 people found this helpful. Was this review helpful to you?         Yes    No    Report abuse


                  LEDs are a gimmick
  By Speerdo on May 7, 2016
  Verified Purchase
  Super plastic. Once installed it's not the end of the world because it's just a shower head, but be
  careful installing. It felt like it would snap at any moment. The LEDs are nice for getting an idea of
  water temp, but you're still gonna have to stick your hand under the stream to dial in your prefered
  temp. Plus, we all know where on our faucets to turn the knob to more/less get in the ballpark for
  temperature. For those two reasons, plus the fact that the LEDs aren't really that bright...the LED
  portion of this showerhead is pointless. I also have low pressure, which I think is a result of so many
  openings on this larger head. I'm going to install a different head and see what's up.

  Overall it gets the job done, but for the price you could do much better if you forgo the LEDs.

  Comment        2 people found this helpful. Was this review helpful to you?         Yes    No    Report abuse



  See all 79 customer reviews (newest first)


    Write a customer review




  Set up an Amazon Giveaway




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                                                                             340
                           Amazon Giveaway allows you to run promotional giveaways in order to
                           create buzz, reward your audience, and attract new followers and
                           customers. Learn more about Amazon Giveaway


                           This item: HotelSpa® 10 Inch Color Changing Rainfall LED Shower Head with 15 Inch Arch Height Adjustable Extension Arm. Powered by
                           running water. LED lights change color according to water temperature (Chrome)


                             Set up a giveaway




  What Other Items Do Customers Buy After Viewing This Item?

                 GlowBowl GB001 Motion Activated Toilet Nightlight
                              2,399
                 $19.99


                 DreamSpa All Chrome Water Temperature Controlled Color Changing 5-Setting LED Shower-Head by Top Brand Manufacturer!…
                              522
                 $34.87


                 Dixon Valve PTFE Industrial Sealant Tape
                              550
                 $2.00

                 Delta Faucet UA902-PK Universal Showering Components 10 -Inch Adjustable Shower Arm, Chrome
                              1,012
                 $18.84




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       Inspired by your browsing history                                                                                                               Page 1 of 8




                 ShowerMaxx Adjustable           Purelux® Extra Long       MODONA AC25-A Long             HotelSpa® 11 Inch Solid
                 Shower Arm Height/Angle         Stainless Steel 16 Inch   Shower Arm with Flange         Brass Height/Angle
                 Extension Brass with            Replacement Shower Arm    15-Inch Solid BRASS            Adjustable Extension Arm
                 Chrome Finish, Solid…           with Flange, Chrome…                    127              for Perfect Height,…
                               29                            38            $21.99                                         117
                 $19.99                          $19.99                                                   $19.49



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                                                                                                                            SpeakStick Waterproof Bluetooth Shower
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                                                   Guarantee.                                                                                                       Add to Cart
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  Email: gcastello@kelleydrye.com
  Attorneys for Defendant BBC Innovation Corporation

                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


  INTERLINK PRODUCTS                          Civil Action No. 2:15-cv-02945 (SRC) (CLW)
  INTERNATIONAL, INC.,
                                                   ANSWER AND COUNTERCLAIMS
                       Plaintiff,
                                                          JURY TRIAL DEMAND
  v.

  BBC INNOVATION CORPORATION,

                       Defendant.



  BBC INNOVATION CORPORATION,

                Counterclaim-Plaintiff,

  v.

  INTERLINK PRODUCTS
  INTERNATIONAL, INC.,

                Counterclaim-Defendant.




                Defendant and Counterclaim-Plaintiff BBC INNOVATION CORP. (“BBC,”

  “Defendant” or “Counterclaim-Plaintiff”), through its undersigned counsel, Kelley Drye & Warren

  LLP, for its Answer and Counterclaims to the Complaint filed by Plaintiff and Counterclaim-
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  Defendant INTERLINK PRODUCTS INTERNATIONAL, INC. (“Interlink,” “Plaintiff” or

  “Counterclaim-Defendant”), hereby responds as follows:

         1.      Defendant admits the allegations of Paragraph 1 of the Complaint.

         2.      Defendant denies the allegations of Paragraph 2 of the Complaint and avers that

  Defendant is an Illinois corporation with its principal place of business at 204 Berg Street,

  Algonquin, Illinois 60102.

         3.      Defendant denies that the amount in controversy exceeds $75,000 and therefore

  denies that this Court has jurisdiction over the claims pursuant to 28 U.S.C. § 1332(a).

  Defendant admits the other allegations of Paragraph 3 of the Complaint.

         4.      Defendant admits the allegations of Paragraph 4 of the Complaint.

         5.      Defendant admits the allegations of Paragraph 5 of the Complaint.

         6.      Defendant admits that Interlink and BBC are competitors in the showerhead

  market and that federal law caps the permissible flow rate of showerheads at 2.5 gallons per

  minute (gpm) of water at 80 pounds per square inch (psi) of water pressure but otherwise denies

  the allegations of Paragraph 6 of the Complaint.

         7.      Defendant lacks knowledge or information sufficient to form a belief as to the

  truth of the allegations of Paragraph 7 of the Complaint and therefore denies the same.

         8.      Defendant admits that its showerheads have been available from online sources

  including Groupon.com, Wayfair.com, Overstock.com and Amazon.com but otherwise denies

  the allegations of Paragraph 8 of the Complaint.

         9.      Defendant admits that its showerheads have competed with those of Interlink with

  respect to online consumers but otherwise denies the allegations of Paragraph 9 of the

  Complaint.


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         10.     Defendant admits the allegations of Paragraph 10 of the Complaint.

         11.     Defendant admits the allegations of Paragraph 11 of the Complaint.

         12.     Defendant admits the allegations of Paragraph 12 of the Complaint.

         13.     Defendant lacks knowledge or information sufficient to form a belief as to the

  truth of the allegations of Paragraph 13 of the Complaint and therefore denies the same.

         14.     Defendant denies that Interlink sells products designed to achieve excellent

  performance at lower flow rates. Defendant lacks knowledge or information sufficient to form a

  belief as to the truth of the other allegations of Paragraph 14 of the Complaint and therefore

  denies the same.

         15.     Defendant denies the allegations of Paragraph 15 of the Complaint.

         16.     Defendant lacks knowledge or information sufficient to form a belief as to the

  truth of the allegations of Paragraph 16 of the Complaint and therefore denies the same.

         17.     Defendant lacks knowledge or information sufficient to form a belief as to the

  truth of the allegations of Paragraph 17 of the Complaint and therefore denies the same.

         18.     Defendant admits that it has sold the Oasis 700R, 700S and 700SSL showerheads

  on one or more of the online marketplaces listed in Paragraph 8 of the Complaint, but otherwise

  denies the allegations of Paragraph 18 of the Complaint.

         19.     Defendant denies the allegations of Paragraph 19 of the Complaint.

         20.     Defendant lacks knowledge or information sufficient to form a belief as to the

  truth of the allegations of Paragraph 20 of the Complaint and therefore denies the same.

         21.     Defendant denies the allegations of Paragraph 21 of the Complaint.

         22.     Defendant denies the allegations of Paragraph 22 of the Complaint.

         23.     Defendant denies the allegations of Paragraph 23 of the Complaint and avers that


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  it has sold less than 2,500 of the 700R, 700S and 700SSL showerheads that are the subject of the

  Complaint.

          24.     Defendant denies the allegations of Paragraph 24 of the Complaint.

          25.     Defendant denies the allegations of Paragraph 25 of the Complaint and avers that

  the text quoted in Paragraph 25 of the Complaint is not part of the Amazon.com Participation

  Agreement, but is an Amazon.com policy with respect to specifically enumerated “restricted”

  product categories which do not include showerheads.

          26.     Defendant denies the allegations of Paragraph 26 of the Complaint and in

  particular denies that assent to retailer terms and conditions or participation agreements

  constitute “promotional representations,” commercial advertising and promotion, or any other

  type of representation actionable under Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a),

  the New Jersey Consumer Fraud Act, N.J.S. § 56:8-1 et seq., or any common law theories alleged

  by Plaintiff.

          27.     Defendant denies the allegations of Paragraph 27 of the Complaint.

          28.     Defendant denies the allegations of Paragraph 28 of the Complaint.

          29.     Defendant denies the allegations of Paragraph 29 of the Complaint.

          30.     Defendant denies the allegations of Paragraph 30 of the Complaint.

          31.     Defendant denies the allegations of Paragraph 31 of the Complaint.

          32.     Defendant denies the allegations of Paragraph 32 of the Complaint.

          33.     Defendant denies the allegations of Paragraph 33 of the Complaint.

          34.     Defendant denies the allegations of Paragraph 34 of the Complaint.

          35.     Defendant denies the allegations of Paragraph 35 of the Complaint.

          36.     Defendant denies the allegations of Paragraph 36 of the Complaint.


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          37.     Defendant denies the allegations of Paragraph 37 of the Complaint.

          38.     Defendant denies the allegations of Paragraph 38 of the Complaint.

          39.     Defendant denies the allegations of Paragraph 39 of the Complaint.

          40.     Defendant denies the allegations of Paragraph 40 of the Complaint.

          41.     Defendant denies the allegations of Paragraph 41 of the Complaint.

          42.     Defendant denies the allegations of Paragraph 42 of the Complaint.

          43.     Defendant denies the allegations of Paragraph 43 of the Complaint.

          44.     Defendant denies the allegations of Paragraph 44 of the Complaint.

          45.     Defendant denies the allegations of Paragraph 45 of the Complaint.

          46.     Defendant restates and realleges its answers to Paragraphs 1-45 of the Complaint

  as if fully set forth herein.

          47.     Defendant denies the allegations of Paragraph 47 of the Complaint.

          48.     Defendant denies the allegations of Paragraph 48 of the Complaint.

          49.     Defendant denies the allegations of Paragraph 49 of the Complaint.

          50.     Defendant admits the allegations of Paragraph 50 of the Complaint.

          51.     Defendant denies the allegations of Paragraph 51 of the Complaint.

          52.     Defendant denies the allegations of Paragraph 52 of the Complaint.

          53.     Defendant restates and realleges its answers to Paragraphs 1-52 of the Complaint

  as if fully set forth herein.

          54.     Defendant admits the allegations of Paragraph 54 of the Complaint.

          55.     Defendant denies the allegations of Paragraph 55 of the Complaint.

          56.     Defendant denies the allegations of Paragraph 56 of the Complaint.

          57.     Defendant denies the allegations of Paragraph 57 of the Complaint.


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          58.     Defendant restates and realleges its answers to Paragraphs 1-57 of the Complaint

  as if fully set forth herein.

          59.     Defendant denies the allegations of Paragraph 59 of the Complaint.

          60.     Defendant denies the allegations of Paragraph 60 of the Complaint.

          61.     Defendant restates and realleges its answers to Paragraphs 1-60 of the Complaint

  as if fully set forth herein.

          62.     Defendant denies the allegations of Paragraph 62 of the Complaint.

          63.     Defendant denies the allegations of Paragraph 63 of the Complaint.

          64.     Defendant denies the allegations of Paragraph 64 of the Complaint.

          65.     Defendant denies the allegations of Paragraph 65 of the Complaint.

                                     AFFIRMATIVE DEFENSES

                  Defendant sets forth the following affirmative and other defenses. Defendant does

  not intend hereby to assume the burden of proof with respect to those matters as to which, pursuant

  to law, Plaintiff bears the burden.

                           First Affirmative Defense (Statute of Limitations)

          66.     The claims alleged in the Complaint are barred by the applicable statute of

  limitations.

                          Second Affirmative Defense (Equitable Doctrines)

          67.     The claims alleged in the Complaint are barred by the equitable doctrines of

  laches, waiver and estoppel.

                          Third Affirmative Defense (No Injury or Damages)

          68.     Plaintiff is not entitled to any relief because it has not suffered any harm or

  incurred any damages as a result of any actions of BBC.

                        Fourth Affirmative Defense (Failure to State a Claim)

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         69.     The Complaint fails to state a claim upon which relief can be granted.

                              Fifth Affirmative Defense (Preemption)

         70.     Plaintiff’s claims are expressly and impliedly preempted by federal law, including

  but not limited to, the Energy Policy Act.

                            Sixth Affirmative Defense (Unclean Hands)

         71.     Plaintiff’s claims to equitable remedies are barred by the doctrine of unclean

  hands. As pled fully below in the Counterclaims, Plaintiff has engaged and continues to engage

  in the same or similar conduct that it alleges as to Defendant, thereby injuring Defendant.

  Specifically, Plaintiff: (1) deceptively markets showerheads as complying with the federally

  mandated flow rate limit of 2.5 gallons per minute at water pressure of 80 p.s.i., when in fact,

  they do not; and (2) markets its products with instructions for how to disable their flow regulators

  to increase their flow rates even further out of compliance. Plaintiff’s false and misleading

  representations in advertising and marketing materials that its showerheads comply with the

  Energy Policy Act have injured Defendant by causing sales of Interlink showerheads that would

  not have been made absent Plaintiff’s false statements. Some of these sales would instead have

  been made by Defendant, as well as by competing showerhead manufacturers.

                            Seventh Affirmative Defense (Reservation)

         72.     Further responding, Defendant states that it currently has insufficient knowledge

  or information on which to form a belief as to whether it may have additional, as yet unstated,

  affirmative defenses available. Defendant reserves the right to assert additional affirmative

  defenses in the event that discovery indicates it would be appropriate.

                                        COUNTERCLAIMS

                 Counterclaim-Plaintiff BBC, by its undersigned attorneys, files these counterclaims



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  against Counterclaim-Defendant Interlink and alleges, upon knowledge as to itself and otherwise

  upon information and belief, as follows:

                                         I.    THE PARTIES

         73.     Counterclaim-Plaintiff BBC is an Illinois corporation with its principal place of

  business at 204 Berg Street, Algonquin, Illinois, 60102.

         74.     Counterclaim-Defendant Interlink is a New Jersey corporation with its principal

  place of business at 1315 East Elizabeth Avenue, Linden, New Jersey, 07036.

                               II.       JURISDICTION AND VENUE

         75.     This Court has jurisdiction over these Counterclaims pursuant to:

                         (a)      Section 39 of the Lanham Act, 15 U.S.C. § 1121(a) and 28 U.S.C.

         §§ 1331, 1337(a), and 1338(a) as to the claims arising out of Interlink’s violations of Section

         43(a) of the Lanham Act, 15 U.S.C. § 1125(a); and

                         (b)      28 U.S.C. §§ 1338(b) and 1367(a), as to the claims arising out of

         Interlink’s violations of New Jersey law.

         76.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and (c), in

  that the Counterclaim-Defendant resides in the district and has disseminated and has caused to be

  prepared and disseminated in interstate commerce throughout the United States and within this

  judicial district, advertisements and promotions for its products, including the advertisements at

  issue in these Counterclaims.

                                  III.   FACTUAL ALLEGATIONS

         77.     Interlink produces, markets and sells showerheads. Interlink markets and sells its

  showerheads in interstate commerce through online channels, including Groupon.com,

  Wayfair.com, Overstock.com and Amazon.com, and through traditional retailers, including Wal-



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  Mart and Bed Bath & Beyond.

              78.   BBC markets and sells showerheads in direct competition with Interlink through

  online channels, including Groupon.com, Wayfair.com, Overstock.com and Amazon.com.

              79.   Under Title 42 of the U.S. Code as amended by the Energy Policy Act of 1992,

  Pub. L. 102-486, 106 Stat. 2776, and implementing regulations at 10 C.F.R. §§ 430.31-34, it is

  unlawful to manufacture and sell a showerhead in the United States having a water flow greater

  than 2.5 gallons per minute (gpm) measured at a water pressure of 80 pounds per square inch

  (p.s.i.).

              80.   Many of Interlink’s showerheads are multiple-nozzle showerheads.

              81.   Under the U.S. Department of Energy’s Showerhead Enforcement Guidance of

  March 4, 2011, “multiple spraying components sold together as a single unit designed to spray

  water onto a single bather constitutes a single showerhead for purposes of the maximum water

  use standard. …Thus, consistent with the Department’s test procedure, to determine whether a

  manufacturer’s showerhead complies with the 2.5 gpm standard set by Congress, the Department

  will measure a showerhead’s water use by turning all of a unit’s sprays and nozzles to their

  maximum flow settings.”

              82.   Interlink represents, in its advertising and marketing materials, online product

  listings, product packaging, product instruction manuals, and on its web site that all of its

  showerheads have a water flow of 2.5 gpm or less, as required by the Energy Policy Act and its

  implementing regulations.

              83.   Interlink certifies to retailers, including Groupon.com, Wayfair.com,

  Overstock.com, Amazon.com, Wal-Mart and Bed Bath & Beyond, that its showerheads are

  lawful to manufacture, market and sell in the United States, which implies compliance with the


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  Energy Policy Act’s 2.5 gpm flow restriction.

         84.     These express and implied representations by Interlink are false, misleading and

  deceptive. Some Interlink’s showerheads do not comply with the Energy Policy Act’s 2.5 gpm

  flow limit, but put out significantly more water than is permitted by the Act.

         85.     Interlink’s distribution in commerce of its non-compliant showerheads are

  unlawful under 42 U.S.C. § 6302(a), and Interlink’s false statements that its showerheads put out

  2.5 gpm of water or less are unfair and deceptive practices under 42 U.S.C. § 6303(c).

         86.     Counterclaim-Plaintiff BBC has purchased and tested an Interlink Model 1141

  AquaDance Drencher 3-Setting 8-inch Curved Square Rainfall Showerhead with Waterfall

  Mode. This product is represented by Counterclaim-Defendant Interlink as complying with the

  federal 2.5 gpm at 80 p.s.i. flow rate limit, as required by the Energy Policy Act. As received

  from Interlink, the showerhead contained no water flow regulator. When tested by

  Counterclaim-Plaintiff, it put out far more than the Energy Policy Act limit, exceeding 5.0 gpm

  even at a lower pressure setting of 70 p.s.i.

         87.     Counterclaim-Plaintiff BBC has purchased and tested an Interlink Model 1441

  AquaDance HotelSpa 24-Setting Slimline Showerhead and Hand Shower Combo. This product

  is represented by Counterclaim-Defendant Interlink as complying with the federal 2.5 gpm at 80

  p.s.i. glow limit, as required by the Energy Policy Act. This showerhead contained a flow

  regulator in its handheld unit but did not contain one in its main nozzle. When tested by

  Counterclaim-Plaintiff, the showerhead put out far more water than the Energy Policy Act limit,

  exceeding 4 gpm when using the main nozzle alone and exceeding 5 gpm when using both main

  and handheld nozzles, even at the lower pressure of approximately 67 p.s.i.

         88.     Counterclaim-Plaintiff BBC has purchased and tested an Interlink Model 1442


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  Aquagenix Slimline Three-Way 8-Inch Rainfall Showerhead and Handheld Shower System.

  This product is represented by Counterclaim-Defendant Interlink as complying with the federal

  2.5 gpm at 80 p.s.i. glow limit, as required by the Energy Policy Act. This showerhead contained

  flow regulators in both its handheld and main nozzles. When tested by Counterclaim-Plaintiff,

  the showerhead put out far more water than the Energy Policy Act limit, exceeding 4 gpm, even

  at the lower pressure of approximately 67 p.s.i.

         89.     Counterclaim-Plaintiff BBC has purchased and tested an Interlink Model 1410

  HotelSpa Emerald High-fashion 8" Rainfall Shower with 120 Jets and 12" Height/Angle

  Adjustable Extension Arm. This product is represented by Counterclaim-Defendant Interlink as

  complying with the federal 2.5 gpm at 80 p.s.i. glow limit, as required by the Energy Policy Act.

  This showerhead contained a flow regulator only in its optional extension arm. When tested by

  Counterclaim-Plaintiff with the extension arm not installed, the showerhead put out far more

  water than the Energy Policy Act limit, exceeding 5 gpm, even at the lower pressure of

  approximately 67 p.s.i.

         90.     Counterclaim-Plaintiff BBC has purchased and tested an Interlink Model 5207

  Hotel Spa 3-Way Multi Shower head. This product is represented by Counterclaim-Defendant

  Interlink as complying with the federal 2.5 gpm at 80 p.s.i. flow rate limit, as required by the

  Energy Policy Act. The showerhead contained a flow regulator but, when tested by

  Counterclaim-Plaintiff, did not comply with this limit, putting out more than 3.0 gpm even at the

  lower pressure of approximately 67 p.s.i.

         91.     Interlink manufactures, sells and distributes into commerce showerheads that put

  out higher water flow than is permitted by the Energy Policy Act, either because it omits flow

  regulators from its showerheads, designs its showerheads in such a way that they put out too


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  much water even with flow regulators installed, or both.

          92.      Interlink’s advertising and marketing representations that these models and, on

  information and belief, other models of its showerheads put out a maximum of 2.5 gpm at 80

  p.s.i. are literally false.

          93.      The unlawfully high flow rates of Interlink’s showerheads may result in a more

  satisfying shower experience for many consumers, resulting in positive evaluations of Interlink’s

  products despite their low quality. This results in further increased sales and further unjust

  enrichment of Interlink through its deceptive and unfair marketing practices.

          94.      Interlink’s false statements that its showerheads put out no more than 2.5 gpm of

  water at 80 p.s.i. of water pressure are material to consumers, many of whom would not have

  purchased Interlink’s showerheads if they had known that these representations were false, but

  would instead have purchased the showerheads of other manufacturers, including BBC.

          95.      Interlink’s false statements that its showerheads put out no more than 2.5 gpm of

  water at 80 p.s.i. of water pressure and that its showerheads comply with federal law are material

  to retailers, some or all of which would not have purchased and resold Interlink’s showerheads if

  they had known that these representations were false, but would instead have purchased and

  resold the showerheads of other manufacturers, including BBC.

          96.      Interlink knew or reasonably should have known that its showerheads have a

  greater than 2.5 gpm maximum flow rate and that they do not comply with the Energy Policy

  Act.

          97.      Interlink’s misrepresentation of its product flow rate and compliance with the law

  is deceptive and, in fact, has a tendency to deceive consumers and retailer customers.

          98.      Interlink’s false statements were made willfully and with the intention of causing


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  confusion, mistake or deception, making this an exceptional case within the meaning of 15

  U.S.C. § 1117(a) entitling BBC to an award of enhanced damages and reasonable attorney’s fees.

         99.     The instruction manuals that come with Interlink showerheads teach users how to

  make them even more non-compliant with the Energy Policy Act by removing their flow rate

  regulators. They provide step-by-step instructions, with diagrams, for removing water flow

  regulators “to improve the water flow in the shower head.” Users are even invited to “call

  customer service for directions” to remove their water flow regulators. See Instructions for

  Model 5207 Hotel Spa 3 Way Shower, annexed hereto as Exhibit 1.

         100.    When followed, Interlink’s instructions on how “To Remove Water Flow

  Regulators” render Interlink’s showerheads non-compliant with the Energy Policy Act, allowing

  much more than the federal limit of 2.5 gpm at 80 p.s.i. of water pressure. Interlink knowingly

  provides these instructions for exactly this purpose.

         101.    Although the instructions reference “areas with extremely low water pressure

  causing the shower water flow to be unsatisfactory,” it is left up to the user to decide what

  constitute “extremely low” water pressure and “unsatisfactory” water flow. Further, there is no

  “extremely low water pressure” exception to the Energy Policy Act’s showerhead flow rate

  requirements, which call for all showerheads to be tested at 80 p.s.i.

         102.    Interlink does not disclose, in its instructions for disabling its showerheads’

  regulators, that following these instructions will render the heads non-compliant with the Energy

  Policy Act. Indeed, on the same page of the instruction manual that describes how to remove the

  water flow regulator on the model 5207 Hotel Spa 3-Way Multi Shower head, Interlink prints

  “2.5 GPM,” a representation that is false after the flow regulator removal instructions are

  followed.


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         103.    Some users, such as plumbers and professional installers, may be prohibited by

  local laws or contractual obligations from modifying showerheads such that they cease to comply

  with the 2.5 gpm flow limit of the Energy Policy Act. Interlink fails to advise such users that

  they risk legal exposure and damage to their professional reputations by following the

  instructions “To Remove Water Flow Regulators” in Interlink’s instruction manuals.

         104.    Many users are deceived by Interlink’s false representations that its showerheads

  still comply with the Energy Policy Act’s 2.5 gpm flow limit even when their flow regulators are

  removed. Others, however, are not deceived. Unscrupulous landlords and hotels, and other

  consumers, sometimes look for ways to circumvent the Energy Policy Act by removing flow

  regulators from showerheads they have purchased. Through its instruction manual, Interlink

  communicates to these users that with its showerheads, flow regulator removal to produce an

  unlawfully high water flow is an easy process taking only a few minutes. Interlink provides

  illustrated step-by-step instructions for regulator removal which take up 25% (half a page out of

  two pages) of its instruction manuals for its showerheads. A repeat buyer of Interlink

  showerheads knows that their regulators are easy to remove and that they come with instructions

  and telephone customer support to render them non-compliant with the Energy Policy Act.

         105.    Interlink obtains an unfair competitive advantage by helping its customers obtain,

  knowingly or unwittingly, what Interlink could not legally sell them: a showerhead that puts out

  far more water than permitted by the Energy Policy Act. An Interlink showerhead packaged with

  Interlink’s instruction manual is effectively a kit for quickly and easily making a non-compliant,

  high-flow showerhead.

         106.    Interlink knew or reasonably should have known that its instructions are used by

  consumers to subvert the purposes of the Energy Policy Act by increasing the maximum flow


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  rate of Interlink’s showerheads above 2.5 gpm at 80 p.s.i. of water pressure, to the extent

  Interlink’s showerheads are not already non-compliant prior to modification. Interlink

  intentionally sought, and in fact achieved, an unfair competitive advantage over competing

  showerhead sellers, including BBC, by facilitating customer modification of its showerheads into

  non-compliant, energy- and water-wasting showerheads.

         107.    Interlink’s unfair and deceptive representations and its cynical targeting of these

  consumers gains sales of showerheads that otherwise would go to the manufacturers of

  showerheads that comply with the Energy Policy Act, including Counterclaim-Plaintiff BBC.

  Interlink’s conduct was done willfully and with the intention of causing confusion, mistake or

  deception, making this an exceptional case within the meaning of 15 U.S.C. § 1117(a) entitling

  BBC to an award of enhanced damages and reasonable attorney’s fees.

         108.    The high flow rate obtained by following Interlink’s instructions to remove its

  flow regulators and circumvent the spirit and purpose of the Energy Policy Act may result in a

  more satisfying shower experience for many consumers, resulting in positive evaluations of

  Interlink’s products despite their low quality. This results in further increased sales and further

  unjust enrichment of Interlink through its deceptive and unfair marketing practices.

                                           IV.     COUNT I

                    False Advertising Under Section 43(a) of the Lanham Act

         109.    BBC repeats and realleges each and every allegation contained in paragraphs 73

  through 108 of these Counterclaims as if set forth fully herein.

         110.    The foregoing acts of Interlink constitute violations of Section 43(a) of the

  Lanham Act, 15 U.S.C. § 1125(a). Section 43(a) of the Lanham Act prohibits, in relevant part,

  any “false or misleading description of fact, or false or misleading representation of fact which . .



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  . in commercial advertising or promotion, misrepresents the nature, characteristics, [or] qualities .

  . . of his or her or another person’s goods, services or commercial activities.”

              111.   Interlink’s advertisements have made statements and representations regarding the

  nature, quality, characteristics, and health benefits associated with Interlink’s products that are

  false and misleading, and have deceived and will continue to deceive a substantial segment of

  their audience.

              112.   Interlink’s false and misleading statements were made in connection with

  commercial advertising and promotion.

              113.   Interlink’s false and misleading statements regarding the nature, quality,

  characteristics, performance, legality and benefits associated with its products are likely to

  influence consumers’ purchasing decisions.

              114.   Interlink’s false and misleading statements have caused BBC to suffer injury.

              115.   As a direct and proximate result of such actions, BBC has suffered, and continues

  to suffer, injury in fact and has lost money and/or property as a result of Interlink’s deceptive,

  unfair and/or unlawful trade practices and unfair competition in an amount which will be proven

  at trial.

                                             V.      COUNT II

                       Unfair and Deceptive Practices Under N.J.S. § 56:8-1 et seq.

              116.   BBC repeats and realleges each and every allegation contained in paragraphs 73

  through 115 of these Counterclaims as if set forth fully herein.

              117.   Through the foregoing conduct in connection with the sale, advertisement and

  promotion of its showerheads, Defendant has used and employed unconscionable commercial

  practices, deception, fraud, and misrepresentations concerning the nature of its showerheads and



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  has knowingly concealed, suppressed, or omitted material facts concerning the nature of its

  showerheads with intent that potential purchasers rely upon such concealment, suppression or

  omission.

          118.    Interlink’s showerheads are consumer goods.

          119.    Interlink knowingly and intentionally committed the misconduct set forth above.

          120.    Members of the general public are likely to be deceived by Interlink’s actions as

  set forth above.

          121.    The aforementioned practices, which Interlink has used, and continues to use, to

  its significant financial gain, constitute unlawful competition and provide an unlawful advantage

  over Interlink’s competitors as well as injury to the general public.

          122.    As a direct and proximate result of such actions, BBC has suffered, and continues

  to suffer, injury in fact and ascertainable losses of money and/or property as a result of Interlink’s

  deceptive, unfair and/or unlawful trade practices and unfair competition in an amount which will

  be proven at trial.

          123.    As a direct and proximate result of such actions, Interlink has enjoyed, and

  continues to enjoy, significant financial gain in an amount that will be proven at trial.

          124.    Interlink’s unfair, unlawful or deceptive trade practices are continuing, and are

  likely to reoccur.

                                          V.      COUNT III

                                 Common Law Unfair Competition

          125.    BBC repeats and realleges each and every allegation contained in paragraphs 73

  through 124 of these Counterclaims as if set forth fully herein.

          126.    Interlink’s more sophisticated and repeat customers know that, unlike many



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  showerheads, Interlink showerheads have easily removable water flow regulators and come with

  instructions and telephone customer support for removing them in a few minutes. These

  sophisticated customers also know that removing the flow regulators makes the showerheads

  non-compliant with the maximum flow limit under federal law. From the perspective of those

  customers, Interlink sells easy-to-build kits for making a showerhead that puts out far more water

  than a showerhead that can be manufactured and sold legally in the United States. These

  customers purchase Interlink products in order to circumvent the provisions of the Energy Policy

  Act and subvert its public policy purposes.

              127.   Through its cynical provision of instructions for circumventing the Energy Policy

  Act, Interlink secures an unfair competitive advantage while causing injury to Interlink’s law-

  abiding showerhead competitors, U.S. energy consumption, the environment, and the general

  public.

              128.   As a direct and proximate result of such actions, BBC has suffered, and continues

  to suffer, injury in fact and ascertainable losses of money and/or property as a result of Interlink’s

  unfair and/or unlawful trade practices and unfair competition in an amount which will be proven

  at trial.

              129.   As a direct and proximate result of such actions, Interlink has enjoyed, and

  continues to enjoy, significant financial gain in an amount that will be proven at trial.

              130.   Interlink’s unfair and unlawful trade practices are continuing, and are likely to

  reoccur.

                                          PRAYER FOR RELIEF

                     Wherefore, Counterclaim-Plaintiff BBC prays for judgment against Counterclaim-

  Defendant Interlink as follows:


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                 A.      For judgment that:

                                 (1)       Interlink has violated Section 43(a) of the Lanham Act, 15

                 U.S.C. § 1125(a);

                                 (2)       Interlink has violated the New Jersey Consumer Fraud Act,

                 N.J.S. § 56:8-1 et seq.

                                 (3)       Interlink is liable to BBC for common law unfair competition;

                 and

                                 (4)       This is an “exceptional case” under Section 35(a) of the

                 Lanham Act, 15 U.S.C. § 1117(a), and that BBC is thereby entitled to recoup its costs

                 and attorneys’ fees.

                 B.      For permanent injunctive relief restraining and enjoining Interlink, its agents,

  officers, employees and all those acting under their control, on their behalf or in concert with them,

  from disseminating or causing to be disseminated any false, misleading and/or deceptive

  representations as to the nature, quality, characteristics, legality, performance and benefits of their

  products.

                 C.      For an order directing Interlink, its agents, officers, employees and all those

  acting under their control, on their behalf or in concert with them:

                                 (1)       to take all steps necessary to secure the return and destruction

                 of all of the false, misleading and deceptive advertising;

                                 (2)       to issue corrective advertising to dispel the impact and effect

                 of the false, misleading and deceptive advertising claims previously disseminated;

                 and

                                 (3)       to file with this Court and serve upon BBC within thirty (30)


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                  days after Interlink is served with an injunction order, a report in writing and under

                  oath, setting forth in detail the manner and form in which Interlink has complied with

                  the relief ordered therein.

                  D.      That Interlink be required to pay to BBC:

                                  (1)     Interlink’s unjust profits after an accounting;

                                  (2)     three times the actual damages sustained by BBC as a result of

                  Interlink’s violations of the Lanham Act complained of herein;

                                  (3)     punitive damages in a sum to be determined by the trier of fact

                  in light of the egregious behavior of Interlink as described herein; and

                                  (4)     BBC’s costs, disbursements, expenses and attorneys’ fees.

                  D.      That BBC shall have of Interlink such other and further relief as is just and

  proper.

  Dated: June 26, 2015                                   KELLEY DRYE & WARREN LLP


                                                         By: /s/ Geoffrey W. Castello
                                                         Geoffrey W. Castello
                                                         One Jefferson Road
                                                         Parsippany, New Jersey 07054
                                                         (973) 503-5900
                                                         Attorneys for BBC Innovation Corp.


                                    DEMAND FOR JURY TRIAL

                  Pursuant to Fed. R. Civ. P. 38(b), Counterclaim-Plaintiff demands a trial by jury on

  all issues triable by jury.

  Dated: June 26, 2015                                   KELLEY DRYE & WARREN LLP


                                                         By: /s/ Geoffrey W. Castello
                                                         Geoffrey W. Castello

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                                                        Attorneys for BBC Innovation Corp.


                 CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2

                 The undersigned hereby certifies that, to the best of his knowledge, this matter is not

  the subject of any other action pending in any court, or any pending or contemplated arbitration or

  administrative proceeding. The undersigned further certifies that, to the best of his knowledge, there

  are no additional parties who should be joined in this matter.

  Dated: June 26, 2015                                  KELLEY DRYE & WARREN LLP


                                                        By: /s/ Geoffrey W. Castello
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